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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

Melanie Moore,                                               Case No. 8 :20-CV-02184MSS-SPF

     Plaintiff,


V.

Luis Marquez, Individually and as

Owner of Pooches of Largo, Inc.,

and Pooches of Largo, Inc.,

     Defendants,

_______________________________/


                      First Amended Complaint and Demand for Jury Trial


     1. Plaintiff, Melanie Moore, hereby files this First Amended Complaint pursuant Fed. R.

     Civ. P. 15 and 8(f)against Defendants Luis Marquez and Pooches of Largo, Inc. d/b/a

     Petland, collectively the “Defendants.” Plaintiff states as follows:

     2. This is an action for FLSA retaliation and failure to pay minimum wage, and further

     states claims for civil theft, conversion, interference with contract, fraudulent

     inducement and misrepresentation, malicious prosecution, and civil conspiracy.

     3. Plaintiff seeks to recover unpaid wages, damages, and other equitable relief. Plaintiff

     demands a jury trial for all counts so triable.



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                                  Jurisdiction and Venue

4. Jurisdiction is proper in the Florida Middle District Court pursuant 28 U.S. Code §

1331, and this court has subject-matter jurisdiction over this action that pertains to a

question of federal law pursuant the Fair Labor Standards Act.

5. This court also has personal jurisdiction because the Defendants maintain a principal

place of business in this judicial district and have availed themselves of the business

opportunities available within the state of Florida. The Plaintiff resides in this district

and was employed by Defendants at their principal place of business in this district.

6. This Court also has supplemental jurisdiction over the related state law claims

pursuant 28 U.S. Code §1367, because Plaintiff’s Florida common law claims form part

of the same case or controversy under Article III of the U.S Constitution and arise from

a common nucleus of operative facts as her federal law claims, and the parties are

identical.

7. Resolving all claims in a single action serves the interests of judicial economy,

convenience, and fairness to the parties.

8. This Court also has jurisdiction because Pinellas County is part of the Middle District

of Florida and Defendants have availed themselves to the jurisdiction of this court

because they own and operate a business in Pinellas County. Defendants are also




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subject to the laws and ordinances of Pinellas County because they operate a business

in Pinellas County.

9. Venue is proper In the Middle District of Florida pursuant 28 U.S. Code §1391

because the Defendants maintain a principal place of business in this district and all or

most of the unlawful conduct giving rise to this action occurred in this district.

                                       The Parties

10. Plaintiff, Melanie Moore, resides in Pinellas County, Florida, where she has worked

as a veterinary technician for approximately fifteen years. Plaintiff was employed by

Defendants in August of 2018 at Petland Largo, a retail pet store located at 10289

Ulmerton Road Largo, Florida 33771. At all times material, Plaintiff was an “employee”

under the Fair Labor Standards Act.

11. Defendant, Luis Marquez, is the owner and President of Petland Largo, located in

Pinellas County, Florida. Luis Marquez was an “employer” under the FLSA and

Plaintiff’s employer at all times material. Defendant operates under the business name

Pooches of Largo, Inc. which maintains its corporate office at 8181 NW 154th Street, Suite

270 Miami Lakes, Florida 33016.

12. Whenever in this Complaint an act or omission of a corporation or business entity is

alleged, the said allegation shall be deemed to mean and include an allegation that the




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corporation or business entity acted or omitted to act through its authorized officers,

directors, agents, servants, and/or employees.

13. Defendants engage in interstate commerce through the purchase, transportation,

and sale of live animals from large-scale commercial breeders in the Midwest for sale in

his Petland stores throughout Florida and Texas.

                                           Facts

14. Plaintiff was employed at Defendants’ Largo Petland store from August 13, 2018,

through August 31, 2018. Plaintiff obtained the job by submitting her resume using the

link in an employment offer on Indeed.com created and posted by Defendants. The

offer was for a “Full-time Certified Veterinary Technician.” The offer indicated that the

compensation for the job was an annual salary of $35,000. (Exhibit 1)

15. Plaintiff received confirmation that her resume was received, first on August 6,

2018, and again on August 8, 2018, when she received voicemails from two of

Defendants agents, Leanne, and Lynette, respectively. Both agents requested that

Plaintiff return the call to schedule an interview for the “Certified Veterinary

Technician” position at Petland Largo. (Exhibit 2)

16. On August 12, 2018, Plaintiff received a text message from manager “Yessi” offering

the job and requested that the Plaintiff be at Petland at 7am the following morning to

begin training. Plaintiff accepted the job and began working at Petland the following



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morning on August 13, 2018. Plaintiff inquired about the compensation in her reply

message and was not informed that it was any other than stated by the Defendants in

their offer. (Exhibit 3)

17. The weekly employee work schedule at Petland is posted on Friday of the

preceding week, thus Plaintiff was not on the previously posted work schedule her first

week of employment. Plaintiff worked as directed by manager Yessi her first week of

employment. Yessi stated that she would enter Plaintiff’s hours into Petland’s

electronic time-keeping system manually until she was able to assign Plaintiff a pin

code to clock in and out for her shifts. (Exhibit 4)

18. Yessi also stated that Plaintiff would not receive a paycheck at the end of her first

week, which was payday for the other workers, but that Plaintiff would receive a

paycheck on the next pay date in two weeks on August 31, 2018.

19. Plaintiff worked full-time for three weeks according to the direction of Yessi her

first week and then according to the weekly employee work schedule created and

posted by Defendants for Plaintiff’s subsequent weeks.

20. Plaintiff was scheduled a minimum of 37 hours per each week of employment.

However, Plaintiff was often asked to stay later than the time she was scheduled to be

off work at the direction of her supervisor to complete any additional work assigned.




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21. Plaintiff submits her work schedules for weeks two and three, showing that she was

scheduled five shifts per week at a minimum of 37 hours per week. (Exhibits 5, 6)

22. Plaintiff worked approximately one hundred hours in total over the three weeks.

Plaintiff used the electronic time-keeping system to clock in and out for her shifts. The

records of which are in the sole custody and control of the Defendants.

23. Plaintiff was an excellent employee and had no documented disciplinary,

attendance, or performance issues during her employment at Petland Largo.

24. On August 30, 2018, Plaintiff was informed by her supervisor, Allison, that if she

did not set up direct deposit, the Plaintiff would not be paid the following day. Allison

gave Plaintiff a direct deposit authorization form which Plaintiff completed with her

banking information and returned the form to Allison.

25. The following day, Friday August 31, 2018, was pay day. Despite being scheduled

to work every Friday, Plaintiff was scheduled off work on this Friday. Contrary to

Allison’s statement the previous day that Plaintiff’s would be paid by direct deposit,

Plaintiff received a text message from Allison notifying the Plaintiff that her paycheck

was at Petland. (Exhibit 7)

26. Plaintiff arrived at Petland to pick up her check approximately one hour later.

While Allison retrieved Plaintiff’s check, Allison said that Plaintiff “was lucky” and

that Allison’s check was short, and she would have to get it “straightened out.”



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27. After Plaintiff left for the bank, she discovered that her check was for only $205 and

was short by approximately $2000. According to the check stub, the pay period ended

the previous day, August 30, 2018. Thus, Plaintiff’s check dated August 31, 2018,

should have compensated the Plaintiff for all three weeks of employment in the

amount of $2019. Plaintiff submits her pay stub as (Exhibit 8).

28. Immediately upon discovering the shortage, Plaintiff text Allison to notify her that

there was a problem with her paycheck. Plaintiff asked with whom she should speak

about the shortage. (Exhibit 7)

29. Plaintiff complained that her wage rate had been reduced from an annual salary of

$35,000 to an hourly rate of $8.45 an hour (Exhibit 9) and that Defendants’ pay practice

was “illegal as hell” because they had applied the reduced wage to her paycheck

retroactively after Plaintiff had already “put in the hours” at the higher wage.

(Exhibit 10)

30. Allison advised Plaintiff “to call corporate to figure it out.” Plaintiff informed

Allison that she would be responding with counsel who would be calling corporate on

Plaintiff’s behalf regarding the wages Plaintiff was owed. (Exhibit 11)

31. Allison confirmed her understanding that Plaintiff had lodged a grievance about

her pay and complained of unlawful pay practices by the Defendants when stated, “we

will have our legal team look into the wage disagreement.”



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32. Allison then terminated Plaintiff’s employment “immediately.” She also said, “it

was a pleasure working with you.,” suggesting that Plaintiff’s termination was not the

result of any misconduct by the Plaintiff. (Exhibit 11)

33. Plaintiff retained employment attorney Richard Celler on October 10, 2018, who

undertook the case on a contingency fee basis. Mr. Celler was enthusiastic and

optimistic that he would obtain a favorable outcome based on the merits of the case.

Attorney Celler also told the Plaintiff that time was of the essence and that he was

eager to begin working on her case.

34. Attorney Celler sent Defendants a letter of demand on December 6, 2018, notifying

Defendants of their unlawful employment actions against the Plaintiff, to include

breach of contract, retaliation in violation of Private Whistleblower Act (PWA), and

failure to pay minimum wage. The letter stated that Mr. Celler was confident that any

judge or jury hearing the case would find Defendants’ actions intolerable and find in

favor of the Plaintiff. The letter indicated a deadline of December 20, 2018, for

Defendants to respond with a satisfactory offer of resolution without which Mr. Celler

would file Plaintiff’s case in court. (Exhibit 12)

35. Defendants responded, through counsel, on December 11, 2018. (Exhibit 13)

Defendants misrepresented material facts pertaining to Plaintiff’s employment.

Defendants alleged, falsely, that Plaintiff was a kennel technician at Petland for $8.45



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an hour, rather than a veterinary technician with a corresponding salary of $35,000 per

year. The Defendants’ misrepresentations were contrary to the offer created and posted

on Indeed.com by the Defendants themselves through which Plaintiff obtained the job

at Petland. Defendants’ offer stated the position was for “Full-time Certified Veterinary

Technician” for an annual salary of $35,000. see Exhibit 1

36. Defendants also falsely alleged that Plaintiff never worked a full-time schedule and

only worked 20 hours per week. The Defendants representations were contrary to the

weekly work schedules created and posted by the Defendants themselves showing that

Plaintiff worked a schedule of five days a week and a minimum of 37 hours each week.

see Exhibits 5,6

37. Defendants also misrepresented the dates of Plaintiff’s employment, alleging that

Plaintiff worked from August 17, 2018, through September 13, 2018. Exhibit three

shows that Plaintiff was offered the job on August 12, 2018, and Plaintiff agreeing to be

at Petland the following morning, August 13, 2018, to begin training per Yessi’s

request. Exhibit four is a screenshot of a text conversation with Yessi showing that

Plaintiff was working at Petland on August 16, 2018. Plaintiff also submits her Google

timeline showing that she was present at Petland on August 13, 2018, and August 16,

2018. (Exhibits 14, 15)




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 38. Given the fact that Defendants have sole custody and control of Plaintiff’s

 employment file and time clock records, there is no reason Defendants should not

 know material facts of Plaintiff’s employment unless Defendants failed to maintain the

 employment records required under the FLSA. However, Defendants pointed to no

 evidence to support their allegations.

 39. In addition to the misrepresentations about Plaintiff’s employment, counsel for the

 Defendants claimed to be in possession of a “Petland Wage Agreement for Kennel.”

 Counsel alleged that the agreement originally stated a wage of $35,000 an hour and

 accused the Plaintiff of altering the terms of the agreement by crossing out the word

 “hour” and writing the word “year” in its place. The allegation is absurd and false.

 40. Plaintiff denies altering any documents related to her employment at Petland. The

 allegation that a wage agreement for $35,000 an hour even existed for Plaintiff to have

 altered to begin with is persuasive evidence that the allegation by Defendants’ counsel

 was false.

 41. Adding to the false and bizarre allegations by Defendants’ counsel, he further

 alleged that it was Plaintiff’s counsel, Mr. Celler, who provided him with this “altered’

 wage agreement. These allegations were made despite knowledge of their falsity by the

 Defendants, Defendants’ counsel, the Plaintiff, and Plaintiff’s counsel.




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 42. These misrepresentations of fact and false allegations against the Plaintiff and her

 counsel were made without any legitimate purpose or basis in fact.

 43. Attached to Defendants’ response was a screenshot of an employment offer on

 Indeed.com for “kennel technician” at Petland Largo. The job description for kennel

 technician was identical to the job description in Defendants’ offer for “certified

 veterinary technician” through which Plaintiff obtained employment at Petland. The

 screenshot showed that the pay for the “kennel technician” position was a salary of

 $8.25 to $11.00 a year. It appears that Defendants sent the screenshot to imply that it

 somehow applied to Plaintiff in her role at Petland. However, the screenshot shows

 that the job offer was created and posted on November 23, 2018, which was three

 months after Plaintiff was terminated and thus, had no relevance to the Plaintiff

 whatsoever. (Exhibit 16)

 44. Counsel for the Defendants also sent a pay stub for an alleged direct deposit to

 Plaintiff’s bank for $320.89. Plaintiff has no record of the alleged deposit and denies

 receiving any direct deposit from Petland. Plaintiff disputes the authenticity of the pay

 stub/check. Unlike the pay stub for the check Plaintiff received on August 31, 2018, the

 check/stub for the alleged direct deposit indicates no bank name from which the funds

 would have been drawn. Also, it was allegedly for a pay period from August 31, 2018,

 through September 13, 2018. However, Plaintiff was terminated on August 31, 2018,



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 and thus, could not have worked or earned wages during the pay period stated on the

 pay stub. (Exhibit 17)

 45. Plaintiff emailed her attorney on at least three different dates to ask about the

 alleged altered wage agreement opposing counsel claimed to have received from Mr.

 Celler. Although Mr. Celler replied to the Plaintiff’s emails, he did not respond to her

 inquiries about the alleged altered wage agreement he was accused of sending to the

 other side.

 46. Mr. Celler’s failure to deny the allegations or even acknowledge that they had been

 made, much less explain the allegations is persuasive evidence suggesting Mr. Celler

 had been induced into silence. Moreover, the enthusiasm Mr. Celler had when he

 undertook the case was substantially diminished after he received the Defendants’

 response to the demand letter. Mr. Celler did not file Plaintiff’s case on December 20,

 2018, in accordance with his demand letter. Nor did Mr. Celler maintain adequate

 communication with the Plaintiff after receiving the Defendants’ reply from counsel.

 Plaintiff was not provided with any updates as to the progress of her case and in fact,

 was told that the firm did not provide clients with updates.

 47. Mr. Celler’s behavior was not that of an attorney whose compensation was

 dependent on a successful resolution of the case, given that he undertook the case on

 contingency.



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 48. Plaintiff was advised that Mr. Celler was negotiating a settlement with Defendants

 and instructed to be patient, that it was not an overnight process. (Exhibit 18)

 49. After four months of radio silence from Mr. Celler, Plaintiff contacted Mr. Celler by

 telephone to inquire about the status of her case. Mr. Celler indicated that the

 Defendants were not interested in resolution. Plaintiff restated her interest in filing her

 case, but Mr. Celler told her that he wanted to spend another month attempting to

 reach a settlement pre-suit. By this time, it had been nine months since Mr. Celler

 undertook the case with no meaningful progress toward resolution.

 50. Mr. Celler notified opposing counsel that he intended to file Plaintiff’s case on April

 6, 2019, and again on May 6, 2019. However, Mr. Celler did not file the case on either

 date and instead abruptly withdrew from representing the Plaintiff on May 20, 2019,

 without cause and with less than one day’s notice and without giving the Plaintiff an

 opportunity to transition to a new attorney before removing himself from the case.

 (Exhibits 19, 20, 21)

 51. Mr. Celler’s conduct was not only contrary to the Plaintiff’s interests, but also

 contrary to his own contractual and financial interests by his failure to advance

 Plaintiff’s case toward resolution. Mr. Celler’s abrupt withdrawal compromised his

 ability to be compensated for nine months of time and expenses spent on Plaintiff’s

 case, given that he undertook the case on contingency.



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 52. One week later after Mr. Celler’s abrupt withdrawal, Defendants sent the Plaintiff a

 cease-and-desist letter accusing the Plaintiff of being responsible for the cover photo of

 a Facebook page, one of dozens that exposes Petland’s association with the puppy mills

 from which they source puppies. (Exhibit 22)

 53. In their letter, sent through counsel, Defendants threatened to sue the Plaintiff for

 defamation and alleged, “We have already been in touch with Facebook to confirm the

 computer used to create the page, etc.” However, this allegation was false. Per

 Facebook’s privacy policy, a court order is required for Facebook to disclose

 information about its users. Had Defendants obtained the requisite court order, they

 would have known the Plaintiff was not the administrator of the page.

 54. By their threats and false allegations, together with the suspicious timing just one

 week after MR. Celler’s abrupt withdrawal, it appears that Defendants intended the

 letter to intimidate and further retaliate against the Plaintiff to deter her from obtaining

 new counsel to further pursue her claims against the Defendants. (Exhibit 23) shows

 that Plaintiff did not administrate the Facebook page at issue and supports Plaintiff’s

 claim that the Defendants intended to threaten and retaliate further against the Plaintiff

 to deter continued pursuit of legal action against the Defendants.

 55. Moreover, the picture that was the subject of the cease and desist letter is found on

 two websites in connection with Petland, www.change.org and



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 https://www.thepetitionsite.com/1/stop-petlands-cruelty/. (Exhibits 25, 25) However,

 Defendants have not filed any defamation action against either of the websites, further

 supporting Plaintiff’s contention that the Defendants did not assert a legitimate claim

 seeking to obtain redress for some perceived defamatory act, but rather sought to

 further harass and retaliate against the Plaintiff by the threat of a lawsuit for an act for

 which Plaintiff was not responsible.

 56. Plaintiff emailed Defendants’ counsel on July 19, 2019, to inquire about the alleged

 wage agreement she was accused of altering. However, rather than acknowledge

 Plaintiff’s request and respond accordingly, counsel instead responded by attaching a

 defamation complaint and summons to the email. (Exhibit 26) The action was filed a

 month earlier in Miami-Dade County Court, in the wrong venue. It defies belief that

 Defendants’ counsel, with more than fifteen years of litigation experience, was unable

 to determine the correct venue in which to file an action against the Plaintiff.

 57. Despite its filing a month earlier, no attempt had been made to serve the Plaintiff,

 according to court records. (Exhibit 27) Nor did Defendants utilize of any of several

 alternative means by which to commence an action if a Defendant cannot be served. see

 Pooches of Largo, Inc. v. Melanie Moore, Miami-Dade 2019-018268-CA-01

 58. The defamation action against the Plaintiff was frivolous, without probable cause,

 and filed for an improper and retaliatory purpose. The action named Plaintiff as



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 Defendant by “process of elimination.” Defendants filed the action with ill will toward

 the Plaintiff and the design and intention to injure the Plaintiff, Plaintiffs good name

 and reputation, employment, and employability. Defendants filed the action not with

 an intent to protect any interest intended to be protected by any privilege but with

 recklessness and an intent to injure the Plaintiff. Therefore, no privilege existed to

 protect Defendants from liability for any of these aforementioned statements and

 unsupported allegations. Defendants continued the action for sixteen months which

 was terminated in Plaintiff’s favor and dismissed for lack of prosecution on October 16,

 2020. (Exhibit 27)

 59. Defendants made several misrepresentations in their defamation complaint. For

 example, Defendants alleged that Plaintiff was paid $1500 for her work at Petland. Not

 only was this false and easily disproven by the payroll records in custody of the

 Defendants demonstrating otherwise, but also irrelevant to an action for defamation.

 Defendants also made disparaging and false statements against the Plaintiff, such as

 accusing the Plaintiff of extortion, aided by her counsel, for acting to recover unpaid

 wages. Once, again, completely irrelevant to an action for defamation. In fact, not only

 did defendants have no reasonable basis to believe the statements that they also had no

 belief in the truth of the statement in fact knew the statements to be false.




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 60. Additionally, Defendants were informed and had knowledge that Plaintiff was

 evicted from her home and lost all her belongings as a result just three weeks after

 Defendants terminated her employment and unlawfully retained the money that was

 to be used to pay her housing expenses. Given the circumstances, it defies belief that

 Defendants, or their counsel, had any legitimate belief in obtaining a judgement against

 the Plaintiff, a homeless woman with no income or assets, for an act she did not do.

 61. More likely than not is the case that, as Plaintiff contends, the lawsuit was a means

 of further retaliation against the Plaintiff to discourage further pursuit of legal action

 against the Defendants and to cause the Plaintiff mental distress.

 62. Setting aside the lack of probable cause for the action, it is nonetheless worth noting

 that in their Complaint, Defendants stated that Plaintiff “was a veterinary technician

 for the store.” Defendants made this statement in direct conflict with Defendants’

 previous claim that Plaintiff was a kennel technician at Petland, not a veterinary

 technician.

 63. By the inconsistency of Defendants statements, it appears that Defendants made one

 representation when attempting to justify under paying the Plaintiff’s wages, and

 another representation when they sought to injure Plaintiff’s personal and professional

 reputation by alleging acts of extortion and defamation against her former employer.




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 64. All actions of the Defendants, its agents, and employees, herein alleged were

 known, ratified, and approved by the Defendants. By the foregoing facts and the

 conduct described below, Plaintiff alleges that Defendants engaged in ongoing acts of

 retaliation and other unlawful conduct and states the following claims against the

 Defendants:

                                        Count One
                         Retaliation in Violation of FLSA 215(a)

 65. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 12 through 30 and paragraphs 33 through 60 and incorporates them by

 reference into this cause of action as though fully set forth herein, excepting those

 allegations which are inconsistent with this cause of action.

 66. At all times material, section 215(a) of the FLSA was in effect and binding on the

 Defendants. It prohibits employers such as the Defendants from discharging,

 demoting, threatening, harassing, or in any other manner discriminating or retaliating

 against any employee because she provided, or threatened to provide, information, or

 assisted in an investigation by a regulatory agency or an internal investigation by the

 company relating to wage violations and/or complaints of conduct by the company that

 is unlawful.

 67. To establish a cause of action for retaliation under the FLSA, an employee must

 prove three elements: (1) the employee engaged in protected activity under the FLSA,


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 (2) the employee subsequently suffered adverse action by the employer, and (3) a

 causal connection existed between the protected activity and the adverse action.

 68. Section 215(a)(3) of the FLSA states that “it is a violation for any person to ‘discharge

 or in any other manner discriminate against any employee because such employee has

 filed any complaint or instituted or caused any proceeding under or related to this Act

 or has testified or is about to testify in any such proceeding, or has served or is about to

 serve in an industry committee.’” (https://www.dol.gov/agencies/whd/fact-sheets/77a-

 flsa-prohibiting-retaliation)

 69. “Because section 215(a)(3) prohibits “any person” from retaliating against “any

 employee”, the protection applies to all employees of an employer even in those

 instances in which the employee’s work and the employer are not covered by the

 FLSA.” (Fact Sheet # 77A: Prohibiting Retaliation Under the Fair Labor Standards Act

 (FLSA) | U.S. Department of Labor (dol.gov))

       Plaintiff Engaged in Multiple Acts of Protected Activity Under the FLSA

 70. Plaintiff engaged in protected activity on August 31, 2018, when she complained to

 her supervisor that there was a problem with her paycheck upon discovering a

 substantial shortage of approximately $2000 in the amount of her check. Complaints

 about wage issues are protected under the FLSA




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 71. Plaintiff engaged in protected activity for a second time on August 31, 2018, when

 she complained to her supervisor that her rate of pay had been reduced to $8.45 an

 hour and the reduction was unlawfully applied retroactively to her paycheck for work

 already performed after she had “put in the hours” at the higher wage rate. Reductions

 and/or deductions from an employee’s paycheck that reduce their compensation to less

 than minimum wage are prohibited by the FLSA. The FLSA which also prohibits

 retroactive reductions in pay. Only prospective reductions are allowed under the FLSA.

 72. Plaintiff engaged in protected activity for a third time on August 31, 2018, when she

 opposed Defendants’ unlawful activity and explicitly stated that their conduct was

 “illegal as hell.” The FLSA prohibits employer retaliation against employees who

 oppose unlawful activity by their employers.

 73. Plaintiff engaged in protected activity for a fourth time on August 31, 2018, when

 she stated she would be responding with counsel when she disclosed information

 about Defendants unlawful activity by participating in an inquiry into Defendants’

 unlawful activity. The FLSA prohibits retaliation for disclosing, or threatening to

 disclose, information about unlawful activity by an employer.

 74. As the direct and proximate result of Plaintiff’s protected conduct as described

 above, Plaintiff suffered an adverse employment action when her employment was

 terminated just thirty minutes later in response to Plaintiff’s text stating she would



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 respond with an attorney. The text terminating the Plaintiff is direct evidence showing

 that Plaintiff’s complaint was the cause of her termination.

 75. The short temporal proximity between Plaintiff’s protected activity and her

 termination just thirty minutes later supports a causal connection between the two

 events.

 76. Compelling circumstantial evidence exists to support a cause of action for

 retaliation as follows:

    ▪ Plaintiff had no documented disciplinary, attendance, or performance issues
       during her employment at Petland, demonstrating that her termination was not
       motivated by other nonretaliatory reasons
    ▪ Plaintiff was terminated on her day off, via text message, and was not on

       workplace property at the time she was terminated

    ▪ Plaintiff worked the day before she was terminated without incident.

    ▪ Plaintiff was scheduled five shifts for the upcoming week, which was just posted

       a few hours earlier on the day Plaintiff was terminated, demonstrating that

       Plaintiff was terminated for her complaint. Plaintiff submits the schedule for the

       upcoming week that was posted just a few hours earlier on the day she was

       terminated. (Exhibit 28) The schedule shows that Plaintiff was scheduled to

       work five shifts and a minimum of 37 hours that week. The fact that Plaintiff was

       scheduled to work the following week supports the claim that Plaintiff was

       terminated for her complaint and that she would not have been terminated but

       for her complaint. Plaintiff could have accepted the $205 she was paid for one

       hundred hours of work and not complained and continued working at Petland

       under these substandard and unlawful conditions.


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    ▪ Rather than conduct an inquiry into the wage issues raised by the Plaintiff in her

       complaint, Defendants chose instead to terminate the Plaintiff, which is

       persuasive evidence that Defendants were already aware of the shortage of

       Plaintiff’s wages.

    ▪ Defendants offered no non-retaliatory reason when terminating the Plaintiff, nor

       did they explain the basis for termination when Plaintiff alleged retaliatory

       discharge claims against the Defendants. The lack of a nonretaliatory motive

       supports the claim that termination was retaliatory.

    ▪ Supervisor Allison’s notice of Plaintiff’s termination was immediately followed

       with “It was a pleasure working with you.” which supports Plaintiff’s claim that

       her termination was retaliatory and not the result of any wrongdoing by the

       Plaintiff.

 77. The law does not require that the Plaintiff’s complaint be lodged with absolute

 formality, clarity, or precision. Plaintiff effectively communicated her grievance with so

 that her supervisor understood that her complaint pertained to wages and opposed

 unlawful activity, and/or activity reasonably believed by the Plaintiff to be unlawful, by

 the Defendants. Evidence that Allison understood that Plaintiff lodged a grievance

 about wages and opposed unlawful activity is supported by confirmation of that

 understanding by Allison when she responded to say Allison that their “legal

 department look into the wage issue.” Allison’s confirmation leaves no room for doubt

 that she understood that the matter concerned wages and unlawful conduct by the

 Defendants.

 78. Defendants violated the FLSA when, despite understanding that Plaintiff lodged a

 grievance about her pay and opposed unlawful conduct, Defendants took an adverse

 action against the Plaintiff by unlawfully terminating her employment in reckless

 disregard for the Plaintiff’s rights or the FLSA. Defendants put the Plaintiff in the
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 precarious position of having to choose between coming forward with a grievance, or

 quietly accepting substandard conditions and wage theft.

 79. Plaintiff states a claim for relief because Defendants violated the FLSA when they

 took adverse action against the Plaintiff by terminating her employment for

 complaining about a shortage of wages and Defendants’ unlawful pay practices. The

 FLSA prohibits retaliation against employees for complaining about their wages or

 unlawful activity by their employer.

        Defendants Continued to Retaliate After Plaintiff’s Employment Ended

 80. “Section 15(a)(3) also applies in situations where there is no current employment

 relationship between the parties; for example, it protects an employee from retaliation

 by a former employer.” Fact Sheet # 77A: Prohibiting Retaliation Under the Fair Labor

 Standards Act (FLSA) | U.S. Department of Labor (dol.gov)

 81. Defendants already demonstrated their capacity for retaliation when they

 unlawfully terminated the Plaintiff in retaliation for her complaint. Plaintiff alleges that

 Defendants engaged in an ongoing pattern of retaliation, threats, intimidation, and

 harassment that continued for more than two years after her employment ended as

 described below.

 82. Plaintiff alleges that Defendants further retaliated against the Plaintiff when she

 disclosed information to her attorney about Defendants’ unlawful activity and wage

 theft. Defendants retaliated against the Plaintiff when they falsely accused Plaintiff of

 altering a wage agreement pertaining to her employment at Petland and falsely

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 accused Plaintiff’s counsel of providing the other side with the allegedly altered wage

 agreement. The allegation was false and retaliatory because no such altered wage

 agreement existed.

 83. Defendants further violated the FLSA when they retaliated against the Plaintiff by

 making false accusations against Plaintiff and her counsel in what appears to have been

 an attempt to interfere with the relationship between Plaintiff and her counsel.

 84. Defendants also retaliated against the Plaintiff for pursuing her claims of

 Defendants’ unlawful activity when, through their counsel, Defendants threatened to

 sue the Plaintiff for defamation for a picture on a Facebook page not administrated by

 the Plaintiff and demanded that she take the page down immediately. The threat was

 retaliatory because Plaintiff was not responsible for the Facebook page, or the content

 contained therein.

 85. Defendants’ counsel furthered Defendants' retaliatory conduct toward the Plaintiff

 in response to Plaintiff’s email inquiry about the alleged wage agreement she was

 accused of altering. Counsel responded by attaching a defamation complaint and

 summons The complaint was frivolous and without probable cause, and was filed a

 month earlier. As court records demonstrate, no attempt was made to effectuate service

 of the complaint on the Plaintiff. see Exhibit 27




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 86. Given that the action was without probable cause and plagued by disparaging and

 false statements throughout the complaint, the action is persuasive evidence that it was

 motivated by retaliation rather than any legitimate purpose in seeking redress for some

 perceived wrong by the Plaintiff. By filing the frivolous action, it makes clear the role of

 Defendants’ counsel in furthering Defendants’ retaliatory acts by drafting and filing a

 baseless defamation Complaint against the Plaintiff, knowing the allegations were false

 and lacked any basis in law or fact, and made intentional misrepresentations about

 Plaintiff’s wages and disparaging and false statements about the Plaintiff to retaliate,

 chill, intimidate, and otherwise discourage further pursuit of her claims against

 Defendants and the recovery of wages owed.

 87. When Defendants did not hear from Plaintiff again after emailing the defamation

 action to her, the retaliatory actions of the Defendants ceased, presumably because they

 believed they had succeeded in discouraging further pursuit of the claims against the

 Defendants by harassing and bullying the Plaintiff by filing a malicious defamation

 action against her.

 88. Plaintiff states a claim for relief because the Defendants retaliated against the

 Plaintiff making false accusations against the Plaintiff and her counsel, by claiming the

 existence of evidence that did not exist, by harassing and threatening Plaintiff with a

 lawsuit for an act she did not do, and by filing a frivolous lawsuit against Plaintiff as a



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 means of further retaliation against the Plaintiff for her complaint and for pursuing

 legal action against the Defendants for their unlawful activity and wage theft. The

 FLSA prohibits retaliation in all forms and employees are protected from retaliation

 after the employment relationship is terminated for disclosing information or

 participating in an investigation of unlawful activity by an employer.

                   Plaintiff was Harmed by Defendants’ Retaliation

 89. The FLSA prohibits retaliatory action against an employee for engaging in any of

 the protected activities described above. Defendants discharged, threatened, harassed,

 and otherwise retaliated against the Plaintiff after she made a written complaint to

 Defendants, through Defendants’ supervisory employee regarding what she

 reasonably believed to be illegal or unlawful conduct in violation of state and federal

 statutes rules, and regulations, and because she sought to recover the wages she is

 owed by retaining counsel to represent her in her claims against Defendants.

 90. As a direct and proximate result of Defendants’ actions, Plaintiff has suffered and

 continues to suffer substantial losses of earnings and other employment benefits and

 has suffered and continues to suffer severe emotional distress, humiliation, and mental

 anguish, all to her damage in an amount to be determined at trial.

 91. Moreover, Defendants actions constituted a willful violation of the FLSA, and the

 conduct described herein was outrageous and executed with malice, fraud, and



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 oppression, and with conscious disregard for the Plaintiff’s rights or the provisions of

 the FLSA.

 92. Defendants retaliatory conduct was made with the intent, design, and purpose of

 injuring the Plaintiff. Thus, Plaintiff is entitled to recover damages in accordance with

 the remedies set forth in the FLSA including, but not limited to, back pay from the time

 Plaintiff was terminated through such time as final disposition of all claims,

 compensation for lost benefits, front pay in lieu of reinstatement, damages for mental

 distress, and general compensatory damages in an amount to be determined at trial.

 93. The FLSA also provides for the recovery of attorney’s fees and costs. In this case,

 Plaintiff is proceeding pro se and thus attorney’s fees are not appropriate or applicable.

 However, the Plaintiff has invested substantial time and incurred substantial expenses

 to hold Defendants accountable for their unlawful conduct and should be compensated

 accordingly at a reasonable rate through such time as the final disposition of this case.

 94. Plaintiff also seeks any other remedies and damages allowable under the FLSA and

 to the full extent allowable by law.

                                       Count Two
             Whistleblower Retaliation in Violation of Florida Statute 448.102

 95. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 26 through 31, 33 through 40, and 49 through 60, and incorporates them by




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 reference into this cause of action as though fully set forth herein, excepting those

 allegations which are inconsistent with this cause of action.

 96. Fl. St. 448.102 prohibits an employer from taking any retaliatory personnel action

 against an employee because the employee has:

   1) Disclosed, or threatened to disclose, to any appropriate governmental agency,
 under oath, in writing, an activity, policy, or practice of the employer that is in
 violation of a law, rule, or regulation. However, this subsection does not apply unless
 the employee has, in writing, brought the activity, policy, or practice to the attention of
 a supervisor or the employer and has afforded the employer a reasonable opportunity
 to correct the activity, policy, or practice.

   (2) Provided information to, or testified before, any appropriate governmental
 agency, person, or entity conducting an investigation, hearing, or inquiry into an
 alleged violation of a law, rule, or regulation by the employer.

   (3) Objected to, or refused to participate in, any activity, policy, or practice of the
 employer which is in violation of a law, rule, or regulation.

 97. The Florida PWA prohibits an employer from taking any “retaliatory personnel

 action” against an employee who engages in three specific “statutorily protected

 activities.”

            Plaintiff Threatened to Disclose Unlawful Activity by Defendants

 98. The PWA’s first clause prohibits retaliation against an employee who discloses his

 or her employer’s activity, practice, or policy that violates a law, rule, or regulation. Fla.

 Stat. § 448.102(1).

 99. As explained in the FLSA claim, Plaintiff has already established that she engaged

 in multiple acts of protected conduct to include complaining and opposing unlawful

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 activity by the Defendants to Plaintiff’s supervisor, threatening to disclose unlawful

 activity by the Defendants to an attorney, disclosing unlawful activity by the

 Defendants to her attorney, and participating in an investigation of the foregoing

 unlawful conduct by disclosing information about Defendants’ activities.

 100. Plaintiff’s first protected activity was on the day of her complaint to her

 supervisor, August 31, 2018. The Defendants retaliation stemming from Plaintiff’s

 protected activity was continued for more than two years until the frivolous

 defamation action filed against the Plaintiff and continued for more than one year was

 dismissed in Plaintiff’s favor on October 16, 2020. see Exhibit 27

 101. Florida law requires that an employer be notified of an unlawful practice or

 activity and given a reasonable time to correct the unlawful conduct before a claim is

 actionable and states: “[a]n employee may not recover in any action brought pursuant

 to [the FWA] if he or she failed to notify the employer about the illegal activity, policy,

 or practice … or if the retaliatory personnel action was predicated upon a ground other

 than the employee’s exercise of a right protected by this act.” Fla. Stat. § 448.103(c).

 102. Plaintiff acted in compliance with the statutory “notice” requirement when she

 complained of Defendants unlawful pay practices to her supervisor on August 31, 2018,

 and again on December 6, 2018, when Plaintiff’s attorney sent Defendants a letter of

 demand claiming unpaid wages and retaliatory discharge in violation of the Florida



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 Private Whistleblower Act. Defendants had many opportunities after notice to correct

 their unlawful conduct but failed to do so within a “reasonable time.” A reasonable

 time is defined under the statute as fifteen days. Plaintiff was terminated on August 31,

 2018, thus giving Defendants through September 15, 2018, to correct their unlawful

 activity. When Defendants failed to do so, the unlawful activity became actionable on

 September 16, 2018.

 103. Not only did Defendants fail to correct their unlawful conduct within the

 “reasonable time” allotted by the statute, but Defendants have failed to do in more than

 three years since the unlawful acts took place. This long-standing refusal to correct the

 shortage of Plaintiff’s wages is compelling evidence that Defendants knowingly and

 intentionally retained and deprived, and continue to knowingly retain and deprive,

 Plaintiff of her wages and that Defendants had, and have, no intention of correcting

 the unlawful activity of which Plaintiff threatened to disclose at the time she

 complained to her supervisor on August 31, 2018, in accordance with the statute.

     Plaintiff Disclosed Information About Defendants’ Unlawful Activity to her
                                        Counsel


 104. The PWA’s second clause prohibits retaliation against an employee who

 participates in an investigation, hearing, or inquiry into an alleged violation of a rule,

 law, or regulation.




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 105. Plaintiff participated in an inquiry into Defendants’ unlawful pay practices when

 she disclosed information and provided documentation of Defendants’ unlawful

 activities to her attorney, who then contacted the Defendants through a letter of

 demand.

 106. Defendants violated Fla. St. 448.102(2) when they retaliated against the Plaintiff for

 the second time after terminating the Plaintiff’s employment in response to the letter of

 demand notifying Defendants Plaintiff had obtained representation. Defendants

 retaliated against the Plaintiff by misrepresenting all facts material to Plaintiff’s

 employment and pay and by responding with false accusations against the Plaintiff

 and her counsel about an allegedly altered wage agreement, for “kennel technician,” of

 which the Plaintiff was falsely accused of altering.

                 Plaintiff Opposed Defendants’ Unlawful Pay Practices

 107. The PWA’s third clause prohibits retaliation against an employee who

 “[o]objected to, or refused to participate in, any activity, policy, or practice of the

 employer which is in violation of a law, rule, or regulation.” Fla. Stat. § 448.102(3)

 108. Exhibits 7 through 11 are screenshots of the text conversation between Plaintiff

 and supervisor Allison in which Plaintiff complained that there was a problem with her

 paycheck and objected to the shortage of money on her paycheck. 109. Plaintiff further

 objected to and opposed Defendants’ unlawful retroactive application of a pay



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 reduction for work already performed by the Plaintiff at the higher wage. Plaintiff

 explicitly stated that Defendants’ pay practice was “illegal as hell.” Plaintiff’s

 supervisor confirmed that she understood Plaintiff opposed Defendants’ unlawful pay

 practices when she stated their “legal department” would "look into the wage

 disagreement.”

 108. As described under Count One, Plaintiff engaged in several acts of protected

 conduct under federal and Florida law and provided detailed facts which described

 how Defendants responded by retaliating, and continuing to retaliate, against the

 Plaintiff for her protected activity of complaining, disclosing, opposing, and

 participating in an investigation to seek legal redress and recover her wages.

 109. The foregoing facts and conduct supports a cause of action for retaliation under

 the PWA because Defendants took adverse action against the Plaintiff for complaining,

 disclosing, opposing, participating in an investigation, and otherwise engaging in

 protected activity and Plaintiff was, and continues to, be harmed by Defendants

 unlawful conduct.

 110. Defendants were the direct and proximate cause of harm to the Plaintiff. Plaintiff

 seeks damages pursuant Fl. St. 448.103(2) which states,

 In any action brought pursuant to subsection (1), the court may order relief as follows:

       (a) An injunction restraining continued violation of this act.
       (b) Reinstatement of the employee to the same position held before the

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             retaliatory personnel action, or to an equivalent position.
       (c) Reinstatement of full fringe benefits and seniority rights.
       (d)    Compensation for lost wages, benefits, and other remuneration.
       (e)     Because reinstatement would not be an appropriate or equitable
               resolution, Plaintiff seeks an award of front pay in lieu of
               reinstatement in an amount to be determined at trial
       (e)    Any other compensatory damages allowable at law.


 111. Plaintiff seeks all remedies available under the Florida Whistleblower Act, to

 include an award of damages for mental distress which was directly and proximately

 caused by Defendants’ retaliatory discharge of the Plaintiff.

 112. Plaintiff also seeks damages in an amount to be determined at trial for Defendants’

 additional retaliatory acts committed after Plaintiff was terminated and continued for

 more than two years.

                                         Count Three
                           Failure to Pay Minimum Wage in Violation of
                                         § 29 U.S.C. 206

 113. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 25 through 29, 41, and 67, and incorporates them by reference into this

 cause of action as though fully set forth herein, excepting those allegations which are

 inconsistent with this cause of action.

 114. Plaintiff was an “employee” and Defendants were “employers” under the FLSA at

 all times material.




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 115. Plaintiff’s employment began on August 13, 2018. Plaintiff was scheduled a

 minimum of 37 hours per week and often remained later than her scheduled time off

 work to complete tasks as instructed by her supervisor. Plaintiff alleges she worked

 approximately one hundred hours in total during her employment. Plaintiff’s work

 hours and dates worked are documented, or should be documented, by her time clock

 records, which are in the sole custody and control of the Defendants.

 116. Plaintiff’s weekly work schedules, created and posted by the Defendants

 themselves, show Plaintiff’s schedule for weeks two and three. see Exhibits 5, 6. Thus,

 Defendants were fully aware of the number of hours Plaintiff worked each week.

 117. Defendants reduced Plaintiff’s pay to $8.45 an hour and applied the reduction

 retroactively. While a pay rate of $8.45 may be at or above the minimum wage rate in

 effect during the relevant time, given the approximately one hundred total hours

 worked by the Plaintiff over the three weeks of her employment, Defendants did not

 pay Plaintiff for all hours worked, thus reducing her compensation to $2.05 for each

 hour of Plaintiff’s work. Plaintiff’s pay stub confirms that Plaintiff was paid $205 in

 total wages before taxes and deductions.

 118. Plaintiff and Defendants disagree as to an alleged direct deposit on September 15,

 2018, for $320. Plaintiff has no knowledge or record of the alleged deposit and

 Defendants have offered no verifiable record of the transaction from the banking



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 institution. The pay period for alleged the direct deposit was August 31, 2018 -

 September 14, 2018. Given the fact that Plaintiff was terminated on August 31, 2018, she

 could not have worked or earned wages during that pay period. Plaintiff disputes the

 authenticity of the direct deposit paystub from the Defendants and argues that the pay

 stub was fraudulent and created after the fact as an attempt to appear as if Plaintiff had

 been paid all wages owed.

 119. Nonetheless, setting aside the absence of any verifiable record of the deposit and

 the authenticity of the pay stub, pay stub submitted by the Defendants for the alleged

 direct deposit indicates a year-to-date wage of $577.47. Going by the pay stub and

 according to the Defendants accounting, had the direct deposit in fact, been made,

 Plaintiff was paid $5.77 per hour, given the approximately one hundred hours worked.

 120. Whether by the Plaintiff’s accounting or that of the Defendants, the pay stub for

 the alleged direct deposit is evidence that supports the claim that Plaintiff was not paid

 minimum wage. In fact, giving the Defendants the benefit of the doubt as to the

 legitimacy of their payroll records, those records indicate that Defendants allegedly

 paid $577 in year-to-date wages, which is substantially less than the Florida or federal

 minimum wages in effect during the relevant time.

 121. Given that Defendants were informed and have had knowledge that Plaintiff was

 owed money but failed to correct the deficiency in almost four years that Defendants



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 have owed Plaintiff wages, Defendants have left no room for doubt that their unlawful

 conduct was, and continues to be, a knowing and willful and violation of the FLSA and

 was made with reckless disregard for the Plaintiff’s rights.

 122. To show a willful violation, the evidence must show not only that the FLSA was

 violated, but also that the employer either knew or showed reckless disregard for

 whether its conduct violated the FLSA. This finding requires more than just evidence

 that the employer was negligent or inattentive to its pay practices. Instead, the evidence

 must show that the employer knew its pay practices violated the FLSA or had some

 reason to suspect its pay practices violated the FLSA and failed to take any action to

 investigate or address that belief.

 123. Plaintiff’s supervisor promised an investigation into the Plaintiff’s wage dispute

 when she terminated the Plaintiff as the result of Plaintiff’s complaint when she

 discovered a substantial shortage of wages in her paycheck. However, no investigation

 was conducted because Defendants acted with reckless disregard for whether their

 actions were in compliance with the FLSA. Not only did Defendants fail to investigate

 when Plaintiff complained about her wages, but Defendants terminated the Plaintiff

 rather than investigate the wage issue. Likewise, Defendants did not investigate the

 wage issue when they were notified of their failure to pay minimum wage by Plaintiff’s

 attorney in December 2018.



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 124. By their failure to investigate and/or correct the wage shortage, Defendants have

 demonstrated willful and reckless disregard for the provisions of FLSA. Moreover,

 Defendants stated that Plaintiff would have to sue and prevail in court for Defendants

 to surrender Plaintiff’s wages. Thus, the Defendants’ have proven their willful

 disregard for the FLSA many times over.


 125. Plaintiff seeks an order from the Court requiring the Defendants to pay Plaintiff all

 back wages owed to the Plaintiff and an equal amount in liquidated damages

 mandated by the FLSA.

 126. Plaintiff has incurred substantial time and expense to compel Defendants to pay

 the wages she was due to receive nearly four years ago. In lieu of attorney fees and

 costs, Plaintiff seeks a reasonable compensation for time and expense incurred by this

 litigation and for any fees and court costs incurred by this action.

                                         Count Four
                              Failure to Pay Minimum Wage
                             Fla. St. 448.110 and S. 24 Article X

 127. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 25-29, 41, and 67 and incorporates them by reference into this cause of

 action as though fully set forth herein, excepting those allegations which are

 inconsistent with this cause of action.




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 128. Defendants failed to pay Plaintiff minimum wage for all hours worked in violation

 of public policy 448.110(a) which states:

       ” All working Floridians are entitled to be paid a minimum wage that is
       sufficient to provide a decent and healthy life for them and their families, that
       protects their employers from unfair low-wage competition, and that does not
       force them to rely on taxpayer-funded public services in order to avoid economic
       hardship.”


 129. Defendants, by their failure to pay Plaintiff a minimum wage, forced the Plaintiff

 to rely on welfare to avoid economic hardship, and to rely on food stamps each month

 to be able to sustain her existence. Plaintiff has relied, and will continue to rely, on food

 stamps since the time of Defendants unlawful employment actions in 2018.

 130. By their failure to pay Plaintiff a minimum wage, Defendants violated 448.110 (c)

 which states:

       “Employers shall pay Employees Wages no less than the Minimum Wage for all
       hours worked in Florida.”

 131. Defendants paid Plaintiff $ 205 in wages after she performed approximately one

 hundred hours of work for the Defendants. Defendants refuse to produce Plaintiff’s

 time clock records to determine the precise number of hours Plaintiff worked because

 they will demonstrate she was paid less than minimum wage for all hours worked.

 132. However, Plaintiff submits her weekly work schedules for weeks two and three of

 her employment which show that Plaintiff worked full time hours each week.



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 133. Defendants paid Plaintiff $205 and, given the one hundred hours Plaintiff

 estimates she worked in total for three weeks, Plaintiff was paid $2.05 for each hour of

 work. ($205/100 = $2.05)

 134. Defendants allege to have made a direct deposit to Plaintiff’s bank in the amount

 of $320 on September 15, 2018. However, Plaintiff disputes the claim and has no

 knowledge or record of any deposit to her account by Petland. However, the pay stub

 for the alleged deposit states a year-to-date wage of $577.47. Therefore, whether by

 Defendants accounting or that of the Defendants, Plaintiff did not receive a minimum

 wage for all hours worked, given approximately one hundred hours she worked

 during the course of her employment at Petland.

 135. Pursuant Section 24(e) of the Florida Minimum Wage Act:

       “Persons aggrieved by a violation of this amendment may bring a civil action in
       a court of competent jurisdiction against an Employer or person violating this
       amendment and, upon prevailing, shall recover the full amount of any back
       wages unlawfully withheld plus the same amount as liquidated damages, and
       shall be awarded reasonable attorney's fees and costs.”

       “In addition, they shall be entitled to such legal or equitable relief as may be
       appropriate to remedy the violation including, without limitation, reinstatement
       in employment and/or injunctive relief. Any Employer or other person found
       liable for willfully violating this amendment shall also be subject to a fine
       payable to the state in the amount of $1000.00 for each violation.”

 136. The Florida Minimum Wage Act requires that an employee give an employer

 notice and 15 days to pay the full amount of unpaid wages or otherwise resole the


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 claim to the satisfaction of the employee before the violation becomes actionable. The

 statute of limitations for bringing an action pursuant to this section shall be tolled

 during this 15-day period. In addition to notice by the Plaintiff when she complained to

 her supervisor, Defendants were given further notice in accordance with the statute on

 December 6, 2018, in a letter of demand from Plaintiff’s counsel. Defendants had until

 December 21, 2018, to correct the violation but failed to do so.


 137. Plaintiff alleges that her whistleblowing, opposition of illegal activity, disclosure of

 Defendants unlawful acts, participation in an investigation of Defendants’ activities by

 Plaintiff’s counsel, and otherwise protected conduct was or were a motivating factor in

 Defendants’ conduct as alleged herein above, including termination of Plaintiff’s

 employment.

 138. Defendants’ failure to pay minimum wage was willful and knowing and in

 reckless disregard for the Plaintiff’s rights and Florida minimum wage laws and made

 with wrongful intent to injure the Plaintiff.

 139. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

 sustained and continues to sustain emotional distress, mental anguish, and Plaintiff has

 suffered and will continue to suffer a loss of earnings and other employment benefits.

 140. Pursuant to Fla. Stat. 448.102(c), Plaintiff is thereby entitled to the following relief:

  1. Upon prevailing in an action brought pursuant to this section, aggrieved persons
  shall recover the full amount of any unpaid back wages unlawfully withheld plus the

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  same amount as liquidated damages and shall be awarded reasonable attorney’s fees
  and costs…

  2. Upon prevailing in an action brought pursuant to this section, aggrieved persons
  shall also be entitled to such legal or equitable relief as may be appropriate to remedy
  the violation, including, without limitation, reinstatement in employment and
  injunctive relief.

 141. Plaintiff seeks relief in accordance with the remedies set forth in Fla. St. 448.110 to

 include back wages, liquidated damages, front pay in lieu of reinstatement, damages

 for mental distress, a reasonable amount in lieu of attorney’s fees and costs of this

 action required to compel Defendants’ compliance with Florida minimum wage laws,

 and any other damages available under law.

 142. Plaintiff also seeks any other relief allowable under law and to the fullest extent of

 the law, including but not limited to, assessment of fines and/or penalties against

 Defendants for their unlawful conduct.

                                       Count Five
                     Civil Theft in Violation of Florida Stat. § 812.014

 143. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 25 through 34 and incorporates them by reference into this cause of action

 as though fully set forth herein, excepting those allegations which are inconsistent with

 this cause of action.

 144. Florida Stat. § 812.014 provides a cause of action for the crime of civil theft and

 states in relevant part:


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       (1) a person commits theft if he or she knowingly obtains or uses, or endeavors to
       obtain or to use, the property of another with intent to, either temporarily or
       permanently:
              (A) Deprive the other person of a right to the property or a benefit from
              the property.
              (B) Appropriate the property to his or her own use or to the use of any
              person not entitled to the use of the property.
              (C) It is grand theft of the third degree and a felony of the third degree,
              punishable as provided in s. 775.082, s. 775.083, or s. 775.084, if the
              property stolen is valued at $300 or more, but less than $5,000.
 145. To state a claim for civil theft, a plaintiff must prove the statutory elements of theft,

 as well as criminal intent.

  Defendants Knowingly Retained Plaintiff’s Property by Failing to Pay Plaintiff the
                                     Wages She is Owed

 146. On August 31, 2018, Defendants knowingly and unlawfully retained Plaintiff’s

 property in the amount of $1,835 f or services performed by the Plaintiff in August 2018

 at Defendants’ Petland Largo retail store. Defendants’ retention of Plaintiff’s property

 was made with the intention of permanently depriving Plaintiff of her property.

 147. Defendants refused, and continue to refuse, to surrender that property since

 August 31, 2018.

            Defendants Appropriated Plaintiff’s Property for Their Own Use

 148. Defendants deprived Plaintiff of the benefit of her property and appropriated, and

 continue to appropriate, Plaintiff’s money for their own use since August 31, 2018.




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 149. Defendants represented that the Plaintiff’s pay was an annual salary of $35,000 a as

 compensation for her services as a veterinary technician at Defendants Petland store.

 150. Plaintiff performed work in accordance with the terms and conditions set forth by

 the Defendants in the agreement. However, when it was time for Defendants to pay

 Plaintiff after she performed work for the Defendants for three weeks, Defendants only

 paid the Plaintiff $205, which was $1835 less than the amount Plaintiff was supposed to

 receive from the Defendants.

 151. Plaintiff notified Defendants through her supervisor, Allison, that she was owed

 money. However, rather than pay the Plaintiff the money she was owed, at the time

 Plaintiff was due to receive her money, Defendants instead terminated the employment

 relationship.

 152. Defendants were notified that Plaintiff was owed money for a second time on

 December 6, 2018, in a letter of demand from Plaintiff’s attorney. However, despite two

 notifications and Defendants’ knowledge Plaintiff was owed money, and even though

 Defendants’ own records supported the claim, Defendants retained and continued to

 retain Plaintiff’s property despite being informed and fully aware that the property

 belonged to the Plaintiff, not the Defendants, Defendants refused to surrender

 Plaintiff’s property and continue to refuse to surrender Plaintiff’s property. Not only

 did Defendants knowingly and intentionally deprive Plaintiff of the benefit of her



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 property, but Defendants also appropriated, and have continued to appropriate,

 Plaintiff’s property for the Defendants own use and benefit for more than three years.

 153. Defendants retention and refusal to surrender Plaintiff’s property is compelling

 evidence that the Defendants deprivation of Plaintiff’s money was a knowing

 intentional act of theft made with criminal intent to unlawfully retain property

 belonging to the Plaintiff.

 154. To conceal and avoid liability for theft, Defendants misrepresented facts and

 alleged the existence of false evidence against the Plaintiff and acted to intimidate and

 threaten the Plaintiff and otherwise acted to obstruct justice by interfering with

 Plaintiff’s ability to continue legal action against Defendants. Similar to Defendants

 other conduct supporting a claim for theft as described above, these actions were

 likewise made to retaliate against the Plaintiff and to deter Plaintiff from further

 pursuit of her wages and claims of unlawful activities by the Defendants.

 155. By the retaliatory, threatening, and intimidation tactics described herein,

 Defendants have left little room for doubt that Defendants acted, and continue to act,

 with extreme, unjustified, and unlawful conduct to continue Defendants’ retention of

 Plaintiff’s property, Defendants’ refusal to surrender Plaintiff’s property, and to

 conceal Defendants’ theft to avoid surrendering Plaintiff’s property and avoid liability

 for their unlawful retention of Plaintiff’s property.



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 156. Plaintiff Fl. Sta. 812.014, Defendants unlawfully retained Plaintiff’s property in the

 amount of $1835 and refused to surrender Plaintiff’s property with the intention of

 permanently depriving the Plaintiff of her property.

       Pursuant Florida Stat. § 812.014(1)(c) Defendants Committed Grand Theft

 157. Defendants’ misconduct constitutes grand theft because the property stolen is

 valued at more than $1000 pursuant Fla. St. 812.014(2).

                         Defendants Acted with Criminal Intent

 158. Evidence of criminal intent that motivated Defendants’ theft is established is

 established in several ways as described below:

 159. First, Defendants posted an offer in Indeed.com for a wage Defendants had no

 intention of paying to induce Plaintiff to apply and accept employment at Petland.

 160. However, immediately upon hiring the Plaintiff and without cause or notice

 Defendants reduced Plaintiff’s wage to $8.45 an hour.

 161. Defendants obtained full time work from the Plaintiff, approximately one hundred

 hours over three weeks in accordance with the terms and compensation set forth by the

 Defendants.

 162. However, when it was time to pay the Plaintiff, Defendants did not pay Plaintiff as

 promised or even minimum wage. Defendants did not investigate the pay shortage and

 instead terminated Plaintiff thirty minutes after she brought the wage discrepancy to



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 the attention of her supervisor. This conduct by the Defendants was unlawful and

 exceeded the inherent risks of employment and was not the sort of conduct normally

 expected from an employer.

 163. After terminating the Plaintiff, Defendants acted to conceal their wage theft by

 alleging a direct deposit that was not in fact, made, misrepresented every material fact

 of Plaintiff’s employment contrary to Defendants own time clock and payroll records,

 and engaged in retaliatory conduct and intimidation tactics as described herein to

 interfere with and discourage further action by the Plaintiff to recover her property so

 that Defendants could escape liability and commit theft with impunity.

 164. Defendants accused Plaintiff of extortion in a malicious retaliatory defamation

 action against the Plaintiff to intimidate and discourage Plaintiff from further action to

 recover her property and to cause her mental distress.

 165. Defendants’ refusal to surrender Plaintiff’s property for almost four years, despite

 knowledge that the property belongs to the Plaintiff, not the Defendants, is compelling

 evidence to establish the criminal intent with which Defendants acted and continue to

 act.

 166. Furthermore, criminal intent can be reasonably inferred by evidence of Defendants

 history of wage theft and similar conduct toward other Petland Florida employees.




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 167. History demonstrates a pattern and practice of improper and unlawful conduct by

 the Defendants made to deprive employees of their money. This pattern of similar

 conduct by the Defendants is evidence that this is not an isolated incident, but rather

 another instance as part of a pattern and practice of improper and unlawful practices

 pertaining to the payment of wages occurring in the Defendants’ usual course of

 business.

 168. Substantial evidence of Defendants improper conduct relating to the payment of

 wages can be seen by statements made by other current and/or former employees of

 the Defendants. For example, employees state that Defendants shorted their paychecks,

 paid less than minimum wage, did not pay on time, unlawfully forced employees to

 split their commissions with the Defendants, failed to provide a way for employees to

 document their hours, required employees to sign a document agreeing to allow

 Defendants to retain their commission wages at any time at the Defendants’ discretion

 or if they quit or are terminated, did not pay employees for overtime hours, made

 employees clock out and work only for commissions when they reached forty hours,

 promised raises to obtain more work from employees but did not give those raises

 accordingly, and use payment of commissions/wages as leverage to threaten employees

 with termination or as a means of constructive discharge. (Exhibits 29-43)




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 169. Defendants’ history and this pattern of misconduct related to the payment of

 wages is compelling evidence of the criminal intent with which Defendant’s act in

 matters of wages and supports the conclusion that the case is the same here, as well.

 170. Plaintiff has suffered, and continues to suffer, substantial injury for more than

 three years as the direct and proximate result of Defendants’ theft.

 171. Fla. Stat. § 772.11 provides the civil remedy for theft and states in relevant part:

       (1) Any person who proves by clear and convincing evidence that he or she has
       been injured in any fashion by reason of any violation of ss. 812.012-812.037 or
       s. 825.103(1) has a cause of action for threefold the actual damages sustained and,
       in any such action, is entitled to minimum damages in the amount of $200, and
       reasonable attorney’s fees and court costs in the trial and appellate courts.


 172. Accordingly, seeks treble damages and, in lieu of attorney’s fees, a reasonable

 amount to compensate Plaintiff for the time and expenses incurred by having to file

 this action for civil theft to seek redress for Defendants unlawful acts.

                                        Count Six
                                       Conversion
 173. Under Florida law, to state a cause of action for conversion, a plaintiff must prove

 (1) that the plaintiff owns or has the right to possess the personal property in question

 at the time of the interference; (2) that the defendant intentionally interfered with

 plaintiff's personal property; (3) that the interference deprived the plaintiff of

 possession or use of the personal property in question; and; (4) that the interference

 caused damages to the plaintiff.


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   Plaintiff Has the Right to Her Property Because it is Plaintiff's Compensation for
                              Work Performed By the Plaintiff

 174. Plaintiff has already established that she performed work for the Defendants for

 which she has not been compensated and attaches evidentiary documentation showing

 Plaintiff was paid less than minimum wage for approximately one hundred hours of

 work performed for the Defendants.


         Defendants’ Acted with the Intent to Deprive Plaintiff of Her Property

 175. Defendants exercised, and continue to exercise, dominion and control over

 Plaintiff’s property and intentionally interfered with Plaintiff’s right to her property by

 unlawfully retaining Plaintiff’s money knowing that it belonged to the Plaintiff and not

 the Defendants. Defendants knowingly and intentionally unlawfully retained and

 refused to surrender Plaintiff’s property and deprived, and continue to deprive, the

 Plaintiff of the benefit of her property for more than three years as of this filing, all

 while they appropriated Plaintiff’s property for Defendants’ use and benefit.


                   Plaintiff was Damaged by Defendants’ Interference

 176. Defendants were, and continue to be, the direct and proximate cause of harm to

 the Plaintiff. Defendants actions were willful, malicious, and oppressive, and

 committed with the wrongful intent to injure the Plaintiff and in conscious disregard




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 for the Plaintiff’s rights. Thus, Plaintiff seeks an award of damages in an amount to be

 determined at trial.

 177. Punitive damages are also appropriate in this case in an amount to be determined

 at trial due the particularly egregious conduct by the Defendants that has continued for

 more than three years and to deter similar conduct going forward.

                                      Count Seven
                                 Fraud in the Inducement

 178. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 12 through 30 and incorporates them by reference into this cause of action

 as though fully set forth herein, excepting those allegations which are inconsistent with

 this cause of action.

 179. To state a claim for fraud in the inducement, Plaintiff must show proof of 1) a false

 statement of material fact; 2) that the defendant knew or should have known was false;

 3) that was made to induce the plaintiff to enter into a contract; and 4) that proximately

 caused injury to the plaintiff when acting in reliance on the misrepresentation.

                   Defendants Made a False Statement of Material Fact

 180. Defendant created and posted, or was responsible for the creation and posting, of

 an employment offer on Indeed.com in or about August 2018 for the position of “full-

 time certified veterinary technician” at Largo Petland. Defendants stated in their offer

 that compensation for the position was an “annual salary of $35,000.” see Exhibit 1


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 181. The compensation stated by Defendants was material because it influenced

 Plaintiff’s decision to apply and accept employment at Petland. Plaintiff would not

 have applied for the job were it not for Defendants’ representation. An annual salary of

 $35,000 was comparable to Plaintiff’s wages at her previous employment.

 182. At no time during Plaintiff’s brief three-week employment did Defendants pay the

 Plaintiff at the wage represented by the Defendants in their offer.

     Defendants Knew, or Should Have Known, That Their Statement Was False

 183. To include a compensation is optional when creating and posting a job offer on

 Indeed.com. Defendants availed themselves of the option and executed a minimum of

 five additional steps to add compensation in their offer.

 184. The misrepresentation was knowing and intentional because Defendant Luis

 Marquez makes decisions regarding employee wages and is the party responsible for

 paying those wages accordingly.

  Defendants Made the Statement with the Intention of Inducing Plaintiff to Accept
                                       Employment

 185. The representation was meant to induce the Plaintiff to apply for and take

 employment at Petland because the statement was made on an employment platform

 for the purpose of connecting job seekers with employers seeking to fill open positions,

 and because $35,000 a year was comparable to the average pay for a certified veterinary

 technician at the relevant time.


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 186. Plaintiff relied on the representations of the Defendants and was justified in her

 reliance on those representation. Plaintiff’s reliance was to her detriment and Plaintiff

 has been, and continues, to be injured by Defendants unlawful conduct.

 187. To provide perspective and a frame of reference, the wage range for Petland

 employees in the United States in 2018 was $15,000 to $22,500 in 2018. (Exhibit 44)

 188. It defies belief that Defendants had no knowledge that the compensation

 represented in their employment offer was approximately $12,000 more than any

 Petland employee in the United States was paid at the relevant time, much less for an

 entry level nonmanagement position at Petland. Defendants knew, or should have

 known, that the representation was false. This is especially true because Defendants are

 responsible for payroll functions for Petland Largo and thus, are fully informed and

 have knowledge of compensation for Petland Largo employees.

 189. In contrast, an annual salary of $35,000 was approximately $2000 more than the

 average pay for certified veterinary technicians in the United States in 2018. Thus,

 $35,000 a year was an attractive compensation that would have persuaded any job-

 seeking veterinary technician to apply, but not so high that that the representation

 appeared inconceivable or false.

 190. Plaintiff alleges that Defendants made the representation without any intention of

 paying according to their representation and in fact, did not pay accordingly.



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 191. Defendants’ conduct exceeded the inherent risks of employment and was not the

 sort of conduct normally expected from an employer.

 192. Plaintiff’s ability to make an informed decision to accept employment at Petland

 was undermined by Defendants’ misrepresentations. Defendants made the statements

 with the intention of inducing the Plaintiff to perform work for the Defendants’ under

 the terms and conditions set forth by the Defendants when acting in reliance on the

 representation about the compensation for the position. Defendants’ misrepresentation

 was intentional, fraudulent, and made in bad faith with the intention of injuring the

 Plaintiff.

 193. At no time did Defendants pay the Plaintiff in accordance with their

 representation. As the evidence demonstrates, Defendants showed no interest and took

 no action to investigate, much less correct, the deficiency in Plaintiff's paycheck so that

 it was in accordance with their representation. Defendants' indifference, failure to

 investigate, failure to correct the pay issue, and termination of the Plaintiff for raising

 the issue is compelling evidence of Defendants' intention of fraudulent inducement

 when making the representation about salary.

 194. Defendants' subsequent conduct further supports a conclusion of fraudulent

 inducement because after Plaintiff relied on Defendants' statements and lodged a

 grievance with her supervisor when she was shorted wages and complained of



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 unlawful activity, Defendants simply chose not to acknowledge their representation

 about the $35,000 salary, much less offer any explanation as to the misrepresentation,

 despite the evidence of their misrepresentation which was made in writing. Apparently,

 Defendants' intention is to avoid being accountable for their misrepresentation by

 simply refusing to acknowledge the statement or the evidentiary documentation of the

 misrepresentation. By their failure to acknowledge their own statements, it is

 persuasive evidence to support the claim that Defendants acted fraudulently with the

 intention of inducing the Plaintiff to perform work in reliance on Defendants

 statements to her detriment because Defendants had no intention of making good on

 their representations.

     Defendants were the Proximate Cause of Plaintiff’s Injuries When Acting in
                             Reliance on the Misrepresentation

 195. Plaintiff justifiably relied on Defendants’ misrepresentation to her detriment.

 Plaintiff performed all conditions required on her part to be performed in accordance

 with the terms and conditions set forth by the Defendants in their offer.

 Plaintiff alleges that the De

 196. As the direct and proximate result of Defendants’ fraudulent conduct and acting

 reliance on Defendants' misrepresentations, Plaintiff has been damaged and will

 continue to be damaged by Defendants' fraudulent conduct, and thus is entitled to

 compensation for her injuries in an amount to be determined at trial.


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 197. Plaintiff seeks treble damages pursuant Florida Statute 772.11(1).

 In addition, punitive damages are appropriate in this case and should be awarded in an

 amount to be determined at trial to punish Defendants for their fraudulent conduct and

 deter like conduct going forward.

                                          Count Eight
                                  Fraudulent Misrepresentation

 198. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 12 through 13 and incorporates them by reference into this cause of action

 as though fully set forth herein, excepting those allegations which are inconsistent with

 this cause of action.

 199. Under Florida law, to state a claim for fraudulent misrepresentation, a plaintiff

 must show 1) a defendant intentionally made a false statement concerning a material

 fact; 2) knowing the statement was false when it was made or made the statement

 knowing he did not know whether it was true or false; 3) with the intention that

 another would rely on the false statement; 4) the plaintiff justifiably relied on the false

 statement to their detriment.

                Defendants Made an Intentional False Statement of Fact

 200. On or about August 2018, Defendants created and posted an offer of employment

 on indeed.com for a “Full-time Certified Veterinary Technician” at Defendants’ Largo

 Petland store. Defendants stated the compensation was an annual salary of $35,000.


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 201. The compensation was material to the employment offer because it induced action

 by the Plaintiff in reliance of the representation by the Defendants.

                Defendants Made the Representation Knowing it was False

 202. The statement about the compensation, which was optional and not required to

 create and post a job offer on Indeed.com, was knowingly and intentionally

 misrepresented. Defendants knew the statement was false at the time it was made

 because Defendants had no intention of paying accordingly and did not pay

 accordingly.

         Defendants Intended to Induce Reliance on their Misrepresentations

 203. Defendants made the misrepresentation on Indeed.com, an online employment

 platform for which its purpose is to connect job seekers with employers seeking to fill

 open positions. Defendants made the misrepresentations with the intention of inducing

 reliance on those statements and did, in fact, induce Plaintiff’s reliance on Defendants’

 misrepresentations.

                            Plaintiff’s Reliance was Justified

 204. Defendants made these misrepresentations on an online employment platform

 whose function is to connect job seekers with employers. Thus, Plaintiff was justified in

 her reliance on the statements made by Defendants when they created and posted the

 employment offer on the employment platform because the conduct by the Defendants



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 exceeded the inherent risks of employment and was not the sort of conduct normally

 expected from an employer.

             Plaintiff was Injured Her Reliance on Defendants’ Statements

 205. Plaintiff’s reliance on the Defendants’ misrepresentations was the direct and

 proximate cause of Plaintiff’s injuries.

 206. Plaintiff seeks treble damages in an amount to be determined at trial pursuant

 Florida Statute 772.11(1)

 207. Punitive damages are also appropriate in this case to deter like conduct by

 Defendants and other going forward.

                                         Count Nine
                                 Interference with Contract

 208. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 31 through 48 and incorporates them by reference into this cause of action

 as though fully set forth herein, excepting those allegations which are inconsistent with

 this cause of action.

 209. Under Florida law, to state a claim for tortious interference with contract the

 claimant must plead four elements: (1) the existence of a business relationship under

 which plaintiff has legal rights, not necessarily evidenced by an enforceable contract;

 (2) proof of defendant's knowledge; (3) intentional and unjustified interference with

 relationship by defendant; and (4) damage to plaintiff as a result of interference.


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                 Plaintiff Had a Business Relationship with Her Attorney

 210. Plaintiff formed a business and contractual relationship with attorney Richard

 Celler when he undertook Plaintiff’s employment case, on contingency, on October 10,

 2018.

  Defendants Were Informed and Had Knowledge of the Relationship with Counsel

 211. On October 4, 2018, Defendants had knowledge and were informed that Mr. Celler

 represented the Plaintiff. Defendants responded to Mr. Celler’s correspondence,

 through counsel on December 11, 2018.

            Defendants’ Interference was Intentional and Without Justification

 212. Plaintiff alleges that Defendants intentionally interfered with the relationship

 between Plaintiff and her counsel. Defendants acted with malice and in bad faith and

 accused Mr. Celler of providing the Defendants with a “kennel wage agreement” for

 $35,000 an hour. Defendants accused Plaintiff of altering the agreement by crossing out

 the word “hour” and writing the word “year” in its place. The allegations were made

 by Defendants despite the fact that the Plaintiff, her counsel, the Defendants, and their

 counsel all know that the allegation was false and that no such wage agreement

 existed.

 213. By their allegations of a wage agreement that did not exist and the implication that

 Mr. Celler provided the other side with evidence was a false and intentional



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 interference with Plaintiff’s relationship with her counsel. Defendants intentionally

 interfered with the contractual relationship between Plaintiff and her counsel. There

 can be no legitimate purpose for making accusations of providing evidence to the other

 side against his own client’s interests.

 214. The 180-degree shift in the enthusiasm and diligence with which Mr. Celler acted

 at the outset of his representation was undeniable. Mr. Celler did not file the case on

 December 20, 2018, in accordance with his demand letter. He did not demonstrate the

 same interest in the case, he failed to maintain communication with the Plaintiff, he did

 not advance the Plaintiff’s case toward resolution for nine months.

 215. Plaintiff alleges that Mr. Celler’s change in demeanor was the direct result of

 unjust and intentional interference by the Defendants when they responded to his letter

 in the manner they did.

 216. Mr. Celler did not deny the accusations, nor did he offer Plaintiff any explanation

 for the implications. In fact, Mr., Celler refused to acknowledge the allegations

 altogether and refused to answer any of at least three email inquiries by the Plaintiff

 about the alleged agreement.

 217. Plaintiff alleges that Defendants intentionally interfered in Plaintiff’s relationship

 without justification and caused, coerced, and influenced Mr. Celler not to deny the

 allegations by Defendants and not to acknowledge them.



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 218. Further evidence of unjustified interference is seen when, after nine months, Mr.

 Celler stated his intention of filing Plaintiff’s case, twice. However, rather than file, Mr.

 Celler abruptly withdrew from the case with less than 24-hours’ notice to the Plaintiff.

 219. Plaintiff requested a copy of her case file when Mr. Celler terminated his

 representation, which consisted of six email messages between himself and opposing

 counsel in the two weeks before his withdrawal, with nothing between then and

 Defendants reply to the demand letter nine months earlier.

 220. The lack of any other papers or notes in the interim demonstrated that Mr. Celler

 discontinued action to advance the case towards resolution when he received

 Defendants’ response to his demand letter. This is persuasive evidence that Mr. Celler

 was influenced by the Defendants’ allegations to an extent that it interfered with the

 diligent pursuit of Plaintiff’s case. From that time, Mr. Celler took no further action to

 advance the case toward resolution for nine months, until he restated his intent to file

 Plaintiff’s case in May and June of 2019, but instead abruptly, mysteriously, withdrew

 from the case a week later without filing the case accordingly.

 221. Plaintiff alleges that the absence of a case file is compelling evidence suggesting

 that Mr. Celler’s intention of filing on December 20, 2018, on May 3, 2018 , and May 6,

 2018, in accordance with his claim, and his failure to file accordingly on all three of

 those dates is persuasive evidence to support a claim the Mr. Celler’s actions were



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 influenced by the Defendants false allegations, false accusations, and otherwise

 inappropriate response to the claims alleged in his demand letter.

 222. Plaintiff further alleges that, were it not for Defendants’ interference and influence

 over Mr. Celler’s actions, Plaintiff’s case file would have contained a drafted Complaint

 to be filed on December 20, 2018, as Mr. Celler intended. Plaintiff alleges that the

 Defendants’ vexatious response to Mr. Celler’s letter, and the false allegations and

 accusations therein, were the turning point in Mr. Celler’s business conduct and

 marked the undermining of Plaintiff’s case by Mr. Celler’s failure to act to advance the

 case toward resolution.

 223. Given Mr. Celler’s disciplinary history and sanction by the Florida Bar for

 improper communication with counsel of an opposing party in an unrelated case, it can

 be reasonably inferred that accusations of similar misconduct by Defendants and/or

 their counsel, would be sufficient to interfere with Mr. Celler’s zealous representation

 of the Plaintiff.

 224. Mr. Celler’s withdrawal was contrary to his contractual and economic interest

 because he undertook the case on contingency, invested nine months of time and

 expense on the case, only to compromise his own compensation by not seeing the case

 through to a favorable outcome.




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 225. Under Florida law, so long as improper means are not employed, activities taken

 to safeguard or promote one's own financial, and contractual interests are entirely non-

 actionable. In this case, Mr. Celler’s “activities” neither safeguarded, nor promoted, his

 financial or contractual interests.

 226. Moreover, Mr. Celler’s handling of Plaintiff’s case was directly counter to his own

 representations. For example, Mr. Celler stated,

    •   “Our firm prides itself on staying in constant communication with our clients.”
    • “We pride ourselves on being responsive to our clients and proactive on their
        cases.”
    • “If they want to settle, great. If they don’t, we remain ready and committed to go
        to trial and court.”
    • “We believe in being straightforward and up front with our clients from day one
        so that we are on the same page in terms of expectations and how the case will
        proceed.”
    • “We don’t get paid unless our client gets paid. So, we share the same incentive
        in pushing these cases as quickly and efficiently as we can.”
    • “Keeping clients informed and up to date on their cases is a benchmark for our
        practice.”

 227. Not only did Mr. Celler not keep Plaintiff “informed” or respond in a “timely

 fashion,” but he told the Plaintiff the firm does not “provide clients with updates”.

 228. Mr. Celler also represents that he is “straightforward with clients from day one so

 they are on the same page as far as expectations and how the case will proceed” Thus,

 according to Mr. Celler, he and the Plaintiff shared the same “expectations” of the case

 from the outset. Moreover, the manner in which Mr. Celler handled the Plaintiff’s case


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 was so contrary to his own representations that is strongly suggests that Mr. Celler was

 persuaded or coerced to pursue the Plaintiff’s case with the same degree of

 professionalism applied to other cases.

 229. Plaintiff alleges that Defendants exercised influence or otherwise interfered with

 Plaintiff’s contractual relationship with Mr. Celler and were the direct and proximate

 cause of Mr. Celler’s failure to file, failure to advance the case, and his ultimate

 withdrawal. Defendants were the only parties that stood to gain an advantage from Mr.

 Celler’s failures to act by not filing the case, by not advancing the case toward

 resolution for nine months, and by not seeing the case through to resolution.

 230. Applying logic and common sense, it can be reasonably inferred that Mr. Celler’s

 conduct, which was so contrary to his own interests and his own representations, was

 caused affected by interference and/or influenced or coerced, by the Defendants to gain

 an advantage in the case by avoiding liability in a legal action filed against the

 Defendants, both to the detriment of Mr. Celler’s interests, as well as those of the

 Plaintiff.

 231. Additional evidence to support a cause of action for interference will be obtained

 and further developed through discovery.




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                 Plaintiff Has Been Injured by Defendants’ Interference

 232. Plaintiff alleges that the Defendants unlawfully interfered with the contractual

 relationship between Plaintiff and the interference was intentional, unjust, and the

 direct and proximate cause of damage to the Plaintiff in an amount to be determined at

 trial.

 233. In addition, Defendants interference was motivated by conduct made to conceal

 and avoid liability for their unlawful acts and with the intention of injuring the

 Plaintiff. Defendants acted with an improper and evil motive amounting to malice and

 oppression and in conscious disregard for the Plaintiff’s rights. Thus, punitive damages

 are appropriate in this case and should be awarded as punishment for Defendants’

 unlawful acts and to deter like conduct by the Defendants and others going forward.

                                       Count Ten
                                  Malicious Prosecution
 234. As a separate and distinct cause of action, Plaintiff complains and realleges

 paragraphs 49 through 60 and incorporates them by reference into this cause of action

 as though fully set forth herein, excepting those allegations which are inconsistent with

 this cause of action.

 235. To state a cause of action for malicious prosecution, Plaintiff must prove six

 elements: '1) the commencement of a judicial proceeding; 2) its legal causation by the

 present defendant against the plaintiff; 3) its bona fide termination in favor of the


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 plaintiff; 4) the absence of probable cause for the prosecution; 5) malice; [and] 6)

 damages.”

   Defendants were the Legal Cause and Commenced a Judicial Proceeding Against
                                          Plaintiff

 236. Defendants were the legal cause and commenced a judicial proceeding and filed a

 defamation action against the Plaintiff with malice and without probable cause.

 237. Plaintiff has already established that she did not engage in any defamatory act

 toward Pooches of Largo, Inc. and that the defamation action was frivolous and

 unsupported.

                     The Action Terminated in Favor of the Plaintiff

 238. Defendants continued the action for more than one year, at which time it was

 resolved in favor of the Plaintiff and dismissed for lack of prosecution.

 239. In their defamation action, Defendants used the opportunity to make

 misrepresentations of fact disparaging remarks about the Plaintiff.

 240. Defendants accused the Plaintiff posting a defamatory cover photo of a Facebook

 page she did not administrate.

 241. Defendants accused Plaintiff of acting with revenge toward her former employer.

 242. Defendants accused the Plaintiff of extortion for lawfully acting to recover unpaid

 wages.




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 243. Defendants misrepresented that Plaintiff was paid $1500 in wages, which was false

 and unrelated to an action for defamation.

                              Defendants Acted with Malice

 244. Plaintiff alleges that Defendants acted with malice and abused the legal system

 when they filed the action and used it as both a sword and a shield to retaliate,

 intimidate, and otherwise injure the Plaintiff, and conceal unlawful conduct, and to

 deter further pursuit of her claims to avoid liability for their misconduct.

 245. As the court records indicate, no attempt was ever made to serve the Plaintiff, nor

 did Defendants utilize any of several other ways by which to commence an action

 rather than to complete service on the defendant. Plaintiff attaches the case docket as

 (Exhibit 17) as evidence showing that no attempt was made

 to serve the Plaintiff and that the case terminated in Plaintiff’s favor.

 246. Defendants’ failure to take any action to obtain the correct identity of the page’s

 administrator, or to file any defamation action against the correct administrator or the

 two websites that use the same allegedly defamatory picture in reference to Petland

 further supports the frivolous, retaliatory, and malicious motive for the action against

 the Plaintiff.

 247. Moreover, the action was filed despite Defendants and their counsel being

 informed and having knowledge that the Plaintiff had lost her home as the direct



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 consequence of Defendants’ wage theft. Thus, it defies belief that the Defendants or

 their counsel had any realistic expectation of obtaining a judgement for $15,000 for an

 unsupported cause of action against a homeless woman with no income or assets.

                         The Action Was Without Probable Cause

 248. The action was an abuse of the legal system and filed for improper purpose with

 the intention of intimidating and harassing the Plaintiff to deter her from continued

 pursuit of her claims against Defendants for their unlawful conduct. Furthermore, the

 action caused Plaintiff to be unable to secure new employment for a considerable

 amount of time after it was filed, despite reasonable efforts by the Plaintiff to do so.

 249. Defendants’ also caused harm and injury to Plaintiff’s occupational, professional,

 and personal reputation, and did so recklessly and maliciously with the wrongful

 intention of injuring the Plaintiff, for an improper and evil motive amounting to malice

 as described above, which abused and/or prevented the existence of any conditional

 privilege of the Defendants or their counsel in filing and continuing the action against

 the Plaintiff.

 250. Not only did Defendants have no reasonable basis for filing the action or for the

 statements made therein, but Defendants also filed the action with no belief in the truth

 of the claims in the defamation action and in fact knew the statements to be false.




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 251. Defendants filed the action with hatred and ill will towards the Plaintiff and the

 design and intention to injure the Plaintiff, her reputation, and her employability, not

 with any intent to protect any interest intended to be protected by any privilege, but

 with reckless malicious intent to injure the Plaintiff. Therefore, no privilege existed to

 protect the Defendants, nor their counsel, from liability for the baseless malicious

 defamation action filed against the Plaintiff.

 252. Defendants were the direct and proximate cause of injury to the Plaintiff, including

 but not limited to, occupational and reputational harm, and mental distress.

 253. Plaintiff seeks an award of damages to compensate for her injuries.

 254. Punitive damages in an amount to be determined at trial are also appropriate for

 Defendants’ misuse of the legal system and the malice that motivated the action against

 the Plaintiff.

                                        Count Eleven
                  Civil Conspiracy in Violation of 42 U.S.C. 1985 and Fla. St. 777.04

 255. As a separate and distinct cause of action, Plaintiff complains and realleges the

 foregoing facts and claims and incorporates them by reference into this cause of action

 as though fully set forth herein, excepting those allegations which are inconsistent with

 this cause of action.

 256. 42 U.S.C. § 1985 grants a civil cause of action for damages caused by various types

 of conspiracies aimed at injuring a person in his/her person or property or denying


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 him/her a federal right or privilege. § 1985 mainly deals with three instances of

 conspiracy: those aimed at preventing an officer from performing his/her duties; those

 aimed at obstructing justice by intimidating a party, witness, or juror; and those aimed

 at depriving a person’s rights or privileges.

 257. Pursuant Florida Statute 876.41, “if two or more persons conspire to commit any

 crime defined by this law, each of such persons is guilty of conspiracy and subject to

 the same punishment as if he or she had committed the crime which he or she

 conspired to commit, whether or not any act be done in furtherance of the conspiracy.”

 258. The offense of conspiracy is codified under Section 777.04(3) of the Florida Statutes

 and mirrors federal conspiracy laws and the elements of federal and statutory

 conspiracy are the same.

 259. The elements of a cause of action for civil conspiracy under Florida law and 42

 U.S.C. §1985 require that the Plaintiff show: (1) an agreement between two or more

 parties, (2) to do an unlawful act or to do a lawful act by unlawful means, (3) the doing

 of some overt act in pursuance of the conspiracy, and (4) damage to plaintiff as a result

 of the acts done under the conspiracy.

 260. Conspiracy under Florida law is defined as an agreement by two or more persons

 to commit a criminal offense, with the intent that the offense will actually be

 committed. Thus, A person who agrees, conspires, combines, or confederates with



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 another person or persons to commit any offense commits the offense of criminal

 conspiracy.

 261. As the 11th Circuit has explained, when one conspirator engages in tortious

 behavior, the plaintiff can then hold all other conspirators liable without alleging that

 they each proximately caused the harm. Thus, the plaintiff must allege that each

 Defendant acted in furtherance of the conspiracy and at least one Defendant succeeded

 in doing so.

 262. Moreover, the Court’s recognize that no formal agreement is necessary to

 constitute an unlawful conspiracy, and that business behavior is admissible

 circumstantial evidence from which the fact finder may infer agreement.


     Defendants, Acting Together and With Others, Formed an Agreement to Do
                                      Unlawful Acts

 263. When considering the “business behaviors” of Defendants, their counsel, their

 agents and/or employees, and the “business behavior” of Mr. Celler, individually and

 collectively, these behaviors as described above are consistent with a fraudulent

 scheme to induce the Plaintiff to accept employment at Petland premised on what

 Defendants knew were misrepresentations about the compensation. Defendants did so

 with the intention of obtaining work from the Plaintiff without paying for it, and did in

 fact, obtain work from the Plaintiff without paying accordingly.



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                         Overt Acts in Furtherance of a Conspiracy

 264. Plaintiff further alleges that Defendants recruited the Plaintiff with the

 preconceived intention of terminating her employment rather than pay her wages.

 Evidence of the Defendants contrived plan to terminate the Plaintiff without cause, on

 her day off, is seen by the fact that Defendants terminated the Plaintiff immediately

 following her wage complaint without even conducted an inquiry into whether

 Plaintiff was paid correctly or not.

 265. Defendants acted together and with others in furtherance of a preconceived plan to

 commit fraud, theft of service, and wage theft, and then unlawfully terminate the

 Plaintiff to avoid paying the money she is owed. Given that Defendants have refused to

 pay Plaintiff her money in nearly four years of attempts to recover her wages, is

 compelling evidence demonstrating that Defendants never had, and continue to have

 no intention of surrendering Plaintiff’s money, absent a court order to do so. In fact,

 counsel for the Defendants stated that Plaintiff would have to “sue and prevail in

 court” to recover her money. There can be no more clear indication that Defendants

 had and have no intention of surrendering Plaintiff’s money and demonstrates the

 condition of the mind and criminal intent motivating Defendants conduct and that of

 their coconspirators.




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 266. Defendants acted together and with others to conceal the Defendants fraud and

 theft to not only avoid surrendering Plaintiff’s money, but to avoid liability for their

 unlawful acts when Plaintiff initiated legal action against the Defendants. Defendants

 attempted to accomplish this by misrepresenting material facts of Plaintiff’s

 employment her position and title, dates of employment, number of hours worked,

 agreed wage, and wages paid.

 267. Defendants, acted together and with others as described in the foregoing, made

 these misrepresentations to create the appearance that no fraudulent acts were made,

 that Plaintiff was not owed money, and that Plaintiff was so confused that she had no

 idea what job she applied for, what job she interviewed and was hired to perform, and

 what the compensation she was promised was for the position was. Defendants further

 attempted to make it appear as if Plaintiff did not know how many hours she worked,

 or when, or during what dates. Defendants made these allegations without any

 evidence to support their claims and contradict the heavily substantiated claims by the

 Plaintiff in support of all claims in this pleading.

 268. Not only did Defendants act, together and with others, to conceal their unlawful

 acts, but also took additional steps to deter and/or interfere with Plaintiff’s ability and

 inclination to pursue legal action against the Defendants for the unlawful conduct by

 falsely accusing her of tampering with a wage agreement for which all parties knew



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 did not exist, by interfering with Plaintiff’s relationship with her attorney and the

 timely filing of Plaintiff’s case, by making baseless threats to sue the Plaintiff for acts

 she did not do, and then actually filing and continuing a frivolous action for same. As

 the evidence filed with this case demonstrates, the defamation action was filed without

 probable cause because Plaintiff was not the party responsible for the misconduct

 alleged in the action.

 269. In addition, Defendants attempted to use Plaintiff’s wages as leverage, a

 bargaining tool, to coerce the Plaintiff into dropping her claims against the Defendants

 in exchange for partial payment of the wages she is owed. When Plaintiff did not

 accept the offer, Defendants did not pay Plaintiff any of the wages she is owed. Plaintiff

 suggests that the Defendants’ “business behavior” is not consistent with that of an

 employer who has a genuine interest in resolving the issues but rather that of an

 employer who is knowingly and intentionally depriving an employee of their wages

 and the evidence supports that finding.

 270. Plaintiff alleges that by inducing Plaintiff’s counsel to breach his contractual

 obligations, Mr. Celler acted to his own detriment and that of the Plaintiff’s, and

 instead acting to the advantage of the Defendants. Defendants obstructed justice when

 they interfered with Mr. Celler’s intentions to file the case and caused Mr. Celler’s

 ultimate and abrupt withdrawal, again, to the benefit of the Defendants. Defendants



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 further acted to intimidate, threaten, harass, and retaliate against the Plaintiff to further

 violate Plaintiff’s rights and obstruct justice. Defendants’ unlawful conduct was made

 to conceal and avoid liability for their previous unlawful acts.

 271. Plaintiff alleges that Defendants acted together and in a concerted effort with

 others to commit fraud, theft, and retaliation, and to conceal Defendants’ unlawful acts

 with misrepresentations, false allegations, failures to disclose, and by threatening,

 harassing, intimidating and otherwise retaliating against the Plaintiff, all acts made to

 interfere with and deter pursuit of her claims and thus to conceal and avoid liability for

 their unlawful conduct. History has already demonstrated the Defendants propensity

 for wage theft and Defendants have shown their propensity for retaliation many times

 over as described above.

 272. Plaintiff further alleges that the Defendants acted together and with others in

 furtherance of an unlawful agreement and that each coconspirator played a critical role

 in pursuance of a conspiracy as described below:

                                   The Defendants' Role

 273. The premise of this conspiracy stems from a fraudulent act by the Defendants

 when they posted an employment offer on Indeed.com the terms of which were

 intentionally misrepresented to induce the Plaintiff to apply for and subsequently




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 accept employment at Petland based on her reliance on the representations made by

 the Defendants in their offer.

 274. Defendants stated that the compensation for the position offered was an annual

 salary of $35,000. The salary was material to the offer because it influenced Plaintiff’s

 behavior by inducing her to apply for the job and subsequently accept the offer of

 employment in reliance of the terms and conditions set forth by the Defendants in their

 offer. Plaintiff worked for three weeks in accordance with the Defendants terms and

 conditions and with the expectation that Defendants would likewise act in accordance

 with their terms and conditions.

 275. Defendants misrepresented the salary of $35,000 a year and had no intention of

 paying, nor did they pay, the Plaintiff in accordance with their representations. In fact,

 Plaintiff worked approximately one hundred hours over three weeks, and was paid

 $205 which resulted in Plaintiff being paid less than minimum wage for all hours

 worked. The disparity between an annual salary of $35,000 and compensation that is

 less than minimum wage is substantial and the two cannot be inadvertently confused.

 276. Plaintiff alleges that the Defendants engaged in a fraudulent scheme by posting an

 employment offer on Indeed.com in which they misrepresented the terms and

 conditions to recruit a “certified veterinary technician” who would have at minimum,




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 an associate degree in veterinary technology and thus have the advanced skills and

 experience required to become credentialed as a certified veterinary technician.

 277. Plaintiff alleges that although Defendants sought a credentialed veterinary

 technician, they did not intend to pay a wage that would have been appropriate for the

 position they sought to fill.

 278. Immediately after Plaintiff was hired, Defendants reduced her wage to an hourly

 rate of $8.45. At no time was Plaintiff compensated according to the $35,000 annual

 salary promised by the Defendants. Plaintiff was not informed at the time she inquired

 or at any other time during her employment that her pay was any other than that

 which Defendants stated and thus, Plaintiff reasonably relied on the Defendants

 representations about the compensation which was to her detriment.

 279. This set of facts is compelling evidence in support of Plaintiff’s allegation that the

 employment offer was fraudulent, and that Defendant’s knowingly and willfully

 misrepresented the compensation to induce the Plaintiff to perform work for the

 Plaintiff on the premise of Defendants’ misrepresentations of material fact. Plaintiff

 would not have applied for or accepted employment at Petland were it not for her

 reliance of the Defendants’ representations in their employment offer.

 280. Defendants’ scheme to obtain work from the Plaintiff without paying as agreed

 became clear when, after three weeks of full-time employment, Plaintiff was paid $205,



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 despite having worked approximately one hundred hours over the three weeks. The

 difference between the $205 Plaintiff was paid and the promised annual salary of

 $35,000, adjusted accordingly for three weeks, was substantial. It became readily

 apparent that Defendants acted knowingly and willfully to induce Plaintiff’s

 employment by offering a salary of $35,000 a year for which they had no intention of

 paying and thus, terminated the Plaintiff rather than conduct a meaningful

 investigation into the wage shortage of which Plaintiff complained and objected.

 281. Defendants have owed Plaintiff wages for work already performed for almost four

 years which is persuasive evidence showing that Defendants have known all along but

 did not and do not intend to pay according to their promise but was in fact,

 misrepresented.

 282. The subsequent conduct of the Defendants and their co-conspirators was to

 conceal their fraud, wage theft, and failure to pay minimum wage and avoid liability

 for their unlawful acts.

              Defendants’ Agents Acted in Furtherance of the Conspiracy

 283. After Plaintiff submitted her resume for the veterinary technician position at

 Petland, she received voice mail messages from two of Defendants’ agents, Lynette,

 and Leanne, on August 6 and August 8, 2018, respectively. Both agents confirmed that




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 Plaintiff applied for the full-time certified veterinary technician position and requested

 Plaintiff schedule an interview for same.

 284. Plaintiff alleges that Defendants’ agents acted together and with the Defendants to

 support their fraudulent employment offer with the voice mails to further deceive and

 defraud the Plaintiff in her belief that the position she applied for was that of a certified

 veterinary technician with a compensation of $35,000 a year.

               Yessi Played a Critical Role in Furtherance of a Conspiracy

 285. When Plaintiff was contacted by manager Yessi to offer Plaintiff the job, Plaintiff

 responded in the affirmative and inquired as to the compensation to make sure it was

 not any other than what was stated by Defendants in their employment offer.

 286. However, Yessi did not respond to Plaintiff’s text and the conversation terminated.

 Yessi was at Petland the following morning when Plaintiff arrived and did not notify

 the Plaintiff then or at any other time during Plaintiff’s employment that the

 compensation was any other than $35,000 a year in accordance with Defendants’

 representation in their offer.

 287. Given the fact that Yessi did not notify Plaintiff of any reduction in compensation

 at any time over the following three weeks, Plaintiff had no reason to suspect

 otherwise. Plaintiff performed work for the Defendants under the terms, conditions,

 and compensation set forth by the Defendants in their offer, through which Plaintiff

 obtained her employment at Petland.

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 288. Plaintiff alleges that manager Yessi was a party to the Defendants fraudulent

 scheme because she knew that Defendants did not intend to pay according to their

 representations. Yessi did not respond to Plaintiff’s inquiry about the compensation for

 the position and acted in furtherance of Defendants fraudulent scheme by not

 responding to Plaintiff’s inquiry knowing the salary was misrepresented and knowing

 Plaintiff would not accept employment if she knew the position only paid twenty cents

 over minimum wage. For the same reason, Plaintiff was never informed that the

 compensation was misrepresented and that she would not be paid according to the

 compensation stated by the Defendants.

 289. Plaintiff alleges that she was induced to accept employment at Petland and

 performed work for the Defendants premised on the terms and conditions set forth by

 the Defendants employment offer. However, when it was time to pay Plaintiff three

 weeks later, Plaintiff was not paid a salary wage in accordance with the Defendants’

 offer. In fact, Plaintiff was paid at an hourly rate pf $8.45 and not compensated for all

 hours worked. Plaintiff’s rate of pay was reduced to $8.45 an hour contrary to the

 annual salary of $35,000 Defendants stated was the compensation for the job.

 290. Additionally, Plaintiff was not paid for all hours worked, and was paid less than

 minimum wage because was only paid $205 for approximately one hundred hours of




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 work over three weeks. At no time during Plaintiff’s brief employment was the Plaintiff

 paid in accordance with Defendants’ representations.

                     Allison Played a Critical Role in the Conspiracy

 291. The day before Plaintiff was to be paid, August 30, 2018, supervisor Allison acted

 in furtherance of Defendants’ scheme to commit wage theft and obtain work from the

 Plaintiff without paying for it, and to subsequently conceal Defendants’ unlawful acts.

 292. Allison threatened not to pay the Plaintiff the following day if she did not

 complete the authorization for direct deposit. Plaintiff completed and returned the

 form.

 293. Despite Allison’s threat the previous day, Plaintiff was paid by paper check.

 Allison sent Plaintiff a text message to notify the Plaintiff that her paycheck was at

 Petland.

 294. Plaintiff was always scheduled to work on Fridays. However, she was not

 scheduled to work on Friday pay day. While Allison retrieved Plaintiff’s paycheck, she

 matter-of-factly commented that Plaintiff was “lucky” because her (Allison’s) check

 was short and would have to be corrected.

 295. Shortly after leaving Petland, Plaintiff discovered that her paycheck was

 substantially short. Plaintiff text Allison and informed her that her check, like Allison’s

 check, was also shorted. Plaintiff’s check was approximately $2000 short. Plaintiff also



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 complained that Defendants acted unlawfully when they applied a reduction in pay

 retroactively after she had “put in the hours” at the higher wage.

 296. Just thirty minutes later, Allison responded to Plaintiff’s text by terminating the

 Plaintiff for her complaint.

 297. Plaintiff alleges that Allison acted in furtherance of Defendants unlawful scheme

 when she acted to obtain Plaintiff’s bank information by threatening not to pay the

 Plaintiff in anticipation of the allegation of a direct deposit made to create the

 appearance that Plaintiff had been paid all wages.

 298. Plaintiff alleges that Allison scheduled Plaintiff off work that Friday so that she

 would not be at Petland working a scheduled shift at the time she discovered the $2000

 shortage on her check. For the same reason, Allison text Plaintiff that her check was at

 Petland so that Plaintiff would pick up her check that day, her day off.

 299. Plaintiff further alleges that Allison acted in furtherance of Defendants scheme to

 commit wage theft when she matter-of -factly commented that her (Allison’s) paycheck

 was short, suggesting that Plaintiff’s check was not the only check that was short when

 Plaintiff discovered the discrepancy in the amount of her check.

 300. Plaintiff also alleges that Allison acted in furtherance of the agreement when she

 terminated Plaintiff’s employment without cause when Plaintiff notified her of the pay

 shortage, despite the fact that Allison was Plaintiff’s immediate supervisor and familiar



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 with Plaintiff’s work, and terminating the Plaintiff without justification in furtherance

 of an agreement to defraud the Plaintiff and steal her wages and her services by not

 paying her for her work as agreed or even as required by state and federal law.

 301. Allison frequently asked the Plaintiff to work later than the time she was

 scheduled off work. Plaintiff alleges that Allison, having knowledge of Defendants

 scheme and that Plaintiff would not be paid for her time, sought to obtain as much

 uncompensated work from the Plaintiff as possible.

 302. Plaintiff further alleges that Allison was aware of Defendants unlawful wage

 practices at the relevant time and that she acted in furtherance of the agreement when

 she terminated the Plaintiff without cause or justification in direct response to

 Plaintiff’s complaint. Allison responded by saying their “legal team” would investigate

 the “wage issue” because she knew Defendants’ conduct was unlawful and that it was,

 or soon would be, a legal matter.

              Defendants' Counsel Acted in Furtherance of the Agreement

 303. When Plaintiff’s attorney sent a demand letter, Defendants acted together and with

 counsel in furtherance of an unlawful agreement when Defendants responded, through

 counsel, with misrepresentations of material facts pertaining to Plaintiff’s employment

 to conceal wage theft, retaliation, and fraudulent conduct by the Defendants.




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 304. Defendants’ response, through counsel, was made in furtherance of an agreement

 to commit fraud, wage theft, and unlawful retaliation, and avoid liability for their

 misconduct. Defendants, through their counsel, misrepresented every material fact of

 Plaintiff’s employment, the dates, compensation, title and position, and the number of

 hours worked by the Plaintiff.

 305. Defendants made these misrepresentations despite having sole custody and

 control of records to the contrary, such as Plaintiff’s employment file and time clock

 records and having ample time to review them.

 306. Defendants made these misrepresentations knowingly and with the intention of

 concealing fraud, wage theft, and retaliation and to avoid liability for their unlawful

 employment actions.

 307. Defendants further responded, through counsel, alleging to be in possession of a

 wage agreement, for “kennel,” for a wage of $35,000 an hour and falsely accused

 Plaintiff of altering the alleged agreement by crossing out the word “hour” and writing

 the word “year” in its place.




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 308. Defendants, through counsel, also falsely accused Plaintiff’s counsel of providing

 them with this allegedly altered wage agreement that did not exist.

 309. Plaintiff alleges that the foregoing false claims and misrepresented allegations by

 the Defendants, by and through their counsel, were made to retaliate, intimidate,

 threaten, conceal, and otherwise avoid liability for Defendants’ misconduct.

    Plaintiff’s Counsel Also Played a Critical Role in Furtherance of an Agreement

 310. Mr. Celler never denied Defendants’ false allegations that he provided them with

 an altered wage agreement Plaintiff knows not to exist. In fact, he was silent about the

 allegations and refused to acknowledge or answer Plaintiff’s questions about

 Defendants’ claims. Plaintiff alleges that by Mr. Celler’s failure to deny or recognize the

 Defendants’ false accusations, and by his abrupt withdrawal and failure to file the case

 these facts are persuasive evidence of Mr. Celler’s participation in Defendants’ scheme.

 311. Plaintiff further alleges that Defendants, together and with counsel, acted in

 furtherance of an agreement when counsel sent Plaintiff a letter on behalf of the

 Defendants in which they falsely accused her of being responsible for something she

 did not do and threatening to sue her for defamation, and demanding that she take

 down a Facebook page she does not administrate.

 312. Much like Defendants misrepresentations of fact, there can be no legitimate

 purpose for threatening to sue someone for an act they did not do. Plaintiff alleges the



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 purpose of the threatening letter was retaliatory and meant to intimidate and

 discourage her from seeking new counsel and to cause her mental distress, given the

 timing of the letter just one week after her counsel abruptly withdrew from her case.

 313. Plaintiff alleges that Mr. Celler acted in concert with Defendants and their counsel,

 by mutual agreement or otherwise, and acted in furtherance of Defendants’ scheme to

 avoid liability for their misconduct and to obstruct justice by interfering with the

 hearing of her case.

 314. Prior to Defendants’ response, Mr. Celler indicated he intended to file Plaintiff’s

 case on December 20, 2018. However, after receiving Defendants’ letter, Mr. Celler did

 not file accordance with his statement that he intended to do so, with the only event

 between claiming he would file and failing to file was Defendants’ letter and the false

 allegations therein.

 315. Instead, Mr. Celler spent a ridiculous amount of time, nine months in fact,

 allegedly trying to negotiate a settlement with Defendants. Mr. Celler indicated his

 intention to file on two other dates but again failed to do so and withdrew from the

 caseless than a weeks after he intended to file the case. Mr. Celler’s “business conduct’

 leaves little room for doubt that he was acting in the Defendants’ interests and not

 those of the Plaintiff or his own.




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 316. By his failure and refusal to file Plaintiff’s case, Mr. Celler acted contrary to his

 contractual and economic interest because, given that he undertook the case on

 contingency, Mr. Celler compromised his ability to be compensated for nine months of

 time and money spent working on Plaintiff’s case. In fact, Mr. Celler’s unconventional

 conduct was so contrary to the Professional Model Rules of Conduct, so contrary to his

 fiduciary duty to the Plaintiff, so contrary to Mr. Celler’s own statements, and so

 contrary to his own economic and professional interests, all while acting to the benefit

 and advantage of the Defendants, that a reasonable finder of fact could easily infer that

 Mr. Celler’s “business conduct” was more aligned with the goals of the Defendants

 than those of the Plaintiff’s or even his own.

 317. This “business conduct” is compelling evidence to support Plaintiff’s claim that

 Mr. Celler was acting on behalf of the Defendants rather than in the interests of his

 client-the Plaintiff and that he was a party to the agreement. By his failure to advance

 the case, failure to file the case, and failure to see the case through to resolution, all

 while the clock continued to run for nine months during which Mr. Celler continued to

 represent the Plaintiff to her detriment and to his own.

 318. Mr. Celler’s “business conduct” furthered the interests of the Defendants so

 effectively and to such extent that it appeared to be the case that Mr. Celler was counsel

 for the Defendants, not the Plaintiff.



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 319. In light of the foregoing, it leaves little doubt that Mr. Celler’s “business conduct”

 was not that of a reasonable and competent attorney acting in his client’s interests, or

 even those of his own.

 320. In addition, Defendants’ conduct in furtherance of a conspiracy to avoid liability

 for their misconduct is established by the frivolous defamation action filed against the

 Plaintiff, naming her as Defendant by “process of elimination.”

 321. Defendants had no legitimate purpose for filing a frivolous and unsupported

 defamation action against the Plaintiff. Moreover, Defendants at no time took action to

 obtain the correct identity of the page administrator to seek redress for some perceived

 defamatory picture on a Facebook page, much less file a defamation action against the

 responsible party.

 322. Defendants “business conduct” of falsely accusing the Plaintiff of defamation

 premised on “process of elimination” while taking no action whatsoever to determine

 the true identity of the party responsible for the alleged defamatory conduct supports

 Plaintiff’s claim that the action was filed with malice and retaliatory motive.

 323. Plaintiff alleges that it was no coincidence that Defendants filed the baseless

 defamation action against her, a former employee who sought to recover unpaid wages

 and disclosed unlawful activity of the Defendants. Plaintiff further alleges that

 Defendants intended to punish, threaten, intimidate, chill, and retaliate, and to



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 discourage further action by the Plaintiff and that Defendants accomplished this

 common goal together and in concert with others.

 324. Plaintiff alleges that Defendants’ counsel acted in furtherance of the agreement by

 drafting and filing the frivolous defamation action against the Plaintiff without

 probable cause. Exhibit 23 was obtained through Facebook and proves that Plaintiff

 did not administrate the Facebook page as alleged by Defendants in the action.

 Defendants’ counsel drafted and filed the baseless complaint in Miami-Dade County

 Court, having knowledge that the allegations were false and were made without any

 investigation made to obtain the true and correct facts. Filing a frivolous action against

 the Plaintiff, acting in the Defendants interests, is compelling evidence of concerted acts

 in furtherance of an unlawful agreement to conceal and avoid liability for the

 Defendants for their misconduct.

 325. Counsel abused his position as an attorney and further abused the legal system by

 acting in furtherance of the agreement to conceal Defendants’ unlawful conduct

 amounting to grand theft, fraud, and retaliation.

 326. Moreover, the Supreme Court is well settled that the protections of “litigation

 privilege” and “immunity” do not extend to actions filed without probable cause

 and/or for an improper purpose. Thus, the filing of this frivolous action against the

 Plaintiff constitutes an unlawful act in furtherance of an unlawful agreement rather



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 than protected conduct made withing the scope of counsel’s zealous representation of

 the Defendants.

 327. The foregoing explains the critical role of the Defendants and others acting in

 furtherance of a concerted act to induce work from the Plaintiff by fraud with no

 intention of paying for the work accordingly, and then unlawfully terminating the

 Plaintiff for asking for her wages and opposing unlawful pay practices to avoid paying

 her.

 328. By the conduct described above, Defendants acted together and with others to

 injure the Plaintiff and did injure the Plaintiff. Plaintiff is still without her wages nearly

 four years later. Defendants intentionally injured Plaintiff’s professional and personal

 reputation, and damaged Plaintiff’s employability. In addition, by acting together and

 in concert with others in furtherance of an unlawful agreement, Defendants caused,

 continue to cause, and will continue to cause the Plaintiff significant mental distress,

 and economic losses, and substantial time and expenses incurred over nearly four years

 by requiring the Plaintiff to compel Defendants’ compliance with the law and to

 recover wages owed since 2018.

 329. Given the “business conduct” of the Defendants and that of their coconspirators as

 described herein, and in consideration of the totality of the circumstances, Plaintiff has

 provided facts together with direct and circumstantial evidence in support of a cause of



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 action for civil conspiracy. Additional facts and evidence supporting a cause of action

 for conspiracy will be obtained and further developed through discovery.

 330. Defendants committed the acts alleged herein recklessly, maliciously, fraudulently,

 and oppressively with the wrongful intention of injuring the Plaintiff, and for an

 improper and evil motive amounting to malice as described above and with a

 conscious disregard for Plaintiff’s rights or the law. In doing so, Defendants abused

 and/or prevented the existence of any conditional privilege and thus are not entitled to

 those protections when acting unlawfully.

 331. All actions of the Defendants, its agents, and employees, herein alleged were

 known, ratified, and approved by the Defendants. This conduct exceeded the inherent

 risks of employment and was not the sort of conduct normally expected from an

 employer. Plaintiff further alleges that the Defendants and their managing agents,

 manager, officers, and/or directors committed the acts alleged herein maliciously,

 fraudulently, and oppressively with the wrongful intention of injuring the Plaintiff and

 acted with an improper and evil motive amounting to malice and oppression, and in

 conscious disregard of the Plaintiff’s rights or the law.

 332. Thus, Plaintiff is entitled to compensatory damages for her injuries and for the

 mental anguish and emotional distress she was caused by Defendants’ conspiracy and

 the unlawful acts made in furtherance of the conspiracy as described herein.



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 333. In addition, Defendants’ conduct was so reckless, malicious, and made with the

 preconceived intention of injuring the Plaintiff that punitive damages are in order and

 should be awarded as a punishment to deter similar unlawful conduct by the

 Defendants or others going forward in an amount to be determined at trial.

                                  Prayer for Relief

 Wherefore, Plaintiff has been damaged and prays for judgement against the Defendants

 and relief as follows:

 1. All unpaid wages due calculated and adjusted accordingly at $35,000 a year minus

 wages already paid to the Plaintiff in the amount of $184.00

 2. Back pay and lost wages in an amount to be determined at trial

 3. Front pay, in lieu of reinstatement

 4. Prejudgment and post judgment interest calculated at the current rate

 5. Compensation in a reasonable amount, in lieu of attorney’s fees and costs, to

 compensate Plaintiff for substantial time and expenses incurred by filing and

 continuing this action to compel Defendants' compliance with the law

 6. Liquidated damages pursuant 29 U.S.C. 216(b) and Section 24(e) of the Florida

 Minimum Wage Act

 7. Treble damages pursuant Fla. Stat. § 772.11, and such other relief as is available

 under the statute to the fullest extent of the law



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 8. Compensatory damages to include mental anguish and emotional distress

 9. Compensation for the loss of health care benefits provided through her employment

 and reimbursement for actual medical expenses incurred since Plaintiff's termination

 10. Damages for injury to Plaintiff’s professional and personal reputation,

 employability

 11. Reimbursement for actual costs incurred for storage expenses for Plaintiff’s

 belongings incurred as a direct consequence of Defendants' failure to timely pay the

 Plaintiff wages owed

 12. Compensation for property loss in an amount to be determined at trial

 13. Punitive damages for all claims allowable at law in an amount to be determined at

 trial

 14. An injunction ordering Defendants to cease and desist from posting fraudulent

 employment offers, and from further acts of wage theft and retaliation

 15. Any other damages allowable at law and to the fullest extent of the law

 Plaintiff demands a trial by jury on all counts so triable.

                                       Respectfully submitted,
                                       s/ Melanie Moore
                                       Plaintiff
                                       15519 Darien Way
                                       Clearwater, Florida 33764
                                       (Mailing address only)
                                       vettechmnm@gmail.com
                                       (727) 692-0143
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                                  Certificate of Service

 Plaintiff, Melanie Moore, hereby certifies that on May 2, 2022, a copy of the foregoing

 will be served on counsel for the Defendants using the court’s CM/ECF filing system

 and counsel will be notified of the foregoing by email through the CM/ECF system.

 Matthew Sarelson
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